  Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 1 of 72




IN THE UNITED STATES BANKRUPTCY COURT
FOR SOUTHERN DISTRICT OF TEXAS

                                         )
In re                                    )    Chapter 11
                                         )
                                              Case No. 25-90023 (Jointly
  DOCUDATA SOLUTIONS L.C., et al.        )
                                              Administered)
                                         )
        Debtors.                         )
                                         )



                   SCHEDULES OF ASSETS AND LIABILITIES FOR

                              Novitex Holdings, Inc.

                              CASE NO. 25-90075




                                    - Page 1 of 1
          Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 2 of 72




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                :
In re:                                                          : Chapter 11
                                                                :
DOCUDATA SOLUTIONS, L.C., et al.,                               : 25-90023 (CML)
                                                                :
                   Debtors. 1                                   : (Jointly Administered)
                                                                :
                                                                :

            GLOBAL NOTES, METHODOLOGY, AND SPECIFIC DISCLOSURES
              REGARDING THE DEBTORS’ SCHEDULES OF ASSETS AND
               LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        DOCUDATA SOLUTIONS, L.C. (“Docudata”) and its debtor affiliates, as debtors and
debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”), filed
their respective Schedules of Assets and Liabilities (each, a “Schedule” and, collectively,
the “Schedules”) and Statements of Financial Affairs (each, a “Statement” and, collectively,
the “Statements” and, together with the Schedules, the “Schedules and Statements”) with the
United States Bankruptcy Court for the Southern District of Texas (the “Court”). The Debtors,
with the assistance of their legal and financial advisors, prepared the unaudited Schedules and
Statements in accordance with section 521 of title 11 of the United States Code, 11 U.S.C.
§§ 101-1532 (the “Bankruptcy Code”), rule 1007 of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”), and rule 1007-1 of the Bankruptcy Local Rules for the Southern District
of Texas.

            These global notes and statements of limitations, methodology, and disclaimers regarding
    the Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are incorporated by
    reference in, and comprise an integral part of, all of the Schedules and Statements, and should be
    referred to, and referenced in connection with, any review of the Schedules and Statements.

       The Schedules and Statements reflect the Debtors’ reasonable efforts to report certain
financial information of each Debtor on a stand-alone, unconsolidated basis. These Schedules and
Statements neither purport to represent financial statements prepared in accordance with Generally
Accepted Accounting Principles in the United States (“GAAP”), nor are they intended to be fully
reconciled with the financial statements of each Debtor. The Schedules and Statements are
unaudited and contain information that is subject to further review and potential adjustment.

       In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://omniagentsolutions.com/DocuDataSolutions. The Debtors’ mailing
      address for the purposes of these cases is 2701 E. Grauwyler Road, Irving, TX 75061 USA.
       Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 3 of 72




Debtors have made commercially reasonable efforts to ensure the accuracy and completeness of
the Schedules and Statements, subsequent information or discovery may result in material changes
to the Schedules and Statements. As a result, inadvertent errors or omissions may exist.
Accordingly, the Debtors and their directors, managers, officers, agents, attorneys and financial
advisors do not guarantee or warrant the accuracy or completeness of the data that is provided
herein, and shall not be liable for any loss or injury arising out of or caused in whole or in part by
the acts, errors, or omissions, whether negligent or otherwise, in procuring, compiling, collecting,
interpreting, reporting, communicating, or delivering the information contained herein or the
Schedules and Statements. In no event shall the Debtors or their directors, managers, officers,
agents, attorneys and financial advisors be liable to any third party for any direct, indirect,
incidental, consequential, or special damages (including, but not limited to, damages arising from
the disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
their directors, managers, officers, agents, attorneys, and financial advisors are advised of the
possibility of such damages.

       The Schedules and Statements have been signed by Matthew Brown, who is Interim Chief
 Financial Officer of and an authorized signatory for each of the Debtors. In reviewing and signing
 the Schedules and Statements, Matthew Brown has relied upon the efforts, statements, advice,
 and representations of personnel of the Debtors and the Debtors’ advisors and other professionals.
 Given the scale of the Debtors’ businesses, Matthew Brown has not (and practically could not
 have) personally verified the accuracy of each statement and representation in the Schedules and
 Statements including, but not limited to, statements and representations concerning amounts
 owed to creditors, classification of such amounts, and creditor addresses.

        Subsequent receipt of information or an audit may result in material changes in financial
data requiring amendment of the Schedules and Statements. Accordingly, the Schedules and
Statements remain subject to further review and verification by the Debtors. The Debtors reserve
their right to amend the Schedules and Statements from time-to-time as may be necessary or
appropriate.

                          Global Notes and Overview of Methodology

1. Description of the Cases. The Debtors commenced these voluntary cases under chapter 11
   of the Bankruptcy Code on March 3, 2025 (the “Petition Date”). The Debtors are authorized
   to operate their businesses and manage their properties as debtors in possession pursuant to
   sections 1107(a) and 1108 of the Bankruptcy Code. On March 4, 2025, the Court entered an
   order authorizing the joint administration of the cases pursuant to Bankruptcy Rule 1015(b)
   [Docket No. 45]. Notwithstanding the joint administration of the Debtors’ cases for procedural
   purposes, each Debtor has filed its own Schedules and Statements.

2. Global Notes Control. In the event that the Schedules or Statements differ from any of the
   Global Notes, the Global Notes shall control.

3. Reservation of Rights. Reasonable efforts have been made to prepare and file complete and
   accurate Schedules and Statements; however, as noted above, inadvertent errors or omissions
   may exist. The Debtors reserve all rights to amend and supplement the Schedules and

                                                  2
   Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 4 of 72




Statements as may be necessary or appropriate but do not undertake any obligation to do so;
provided, that the Debtors, their agents, and their advisors expressly do not undertake any
obligation to update, modify, revise, or recategorize the information provided herein or to
notify any third party should the information be updated, modified, revised, or recategorized,
except as required by applicable law, from time to time. Nothing contained in the Schedules,
Statements, or Global Notes shall constitute a waiver of rights with respect to these chapter 11
cases including, but not limited to, any rights or claims of the Debtors against any third party
or issues involving substantive consolidation, defenses, statutory or equitable subordination,
and/or causes of action arising under the provisions of chapter 5 of the Bankruptcy Code and
any other relevant non-bankruptcy laws to recover assets or avoid transfers. Any specific
reservation of rights contained elsewhere in the Global Notes does not limit in any respect the
general reservation of rights contained in this paragraph.

            a.      No Admission. Nothing contained in the Schedules and Statements is
                    intended as, or should be construed as, an admission or stipulation of the
                    validity of any claim against any Debtor, any assertion made therein or
                    herein, or a waiver of any of the Debtors’ rights to dispute any claim or
                    assert any cause of action or defense against any party.

            b.      Claims Description. Any failure to designate a claim listed on the
                    Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
                    does not constitute an admission by the Debtors that such amount is not
                    “disputed,” “contingent,” or “unliquidated.” Each Debtor reserves the
                    right to dispute and to assert setoff rights, counterclaims, and defenses to
                    any claim reflected on its Schedules or Statements on any grounds,
                    including, but not limited to, amount, liability, priority, status, and
                    classification, and to otherwise subsequently designate any claim as
                    “disputed,” “contingent,” or “unliquidated.” The listing of a claim does
                    not constitute an admission of liability by the Debtors, and the Debtors
                    reserve the right to amend the Schedules and Statements accordingly.

            c.      Recharacterization. The Debtors have made reasonable efforts to
                    correctly characterize, classify, categorize, and designate the claims,
                    assets, executory contracts, unexpired leases, and other items reported in
                    the Schedules and Statements. Nevertheless, due to the complexity of the
                    Debtors’ businesses, the Debtors may not have accurately characterized,
                    classified, categorized, or designated certain items and/or may have
                    omitted certain items. Accordingly, the Debtors reserve all of their rights
                    to recharacterize, reclassify, recategorize, or redesignate items reported in
                    the Schedules and Statements at a later time as necessary or appropriate,
                    including, without limitation, whether contracts or leases listed herein
                    were deemed executory or unexpired as of the Petition Date and remain
                    executory and unexpired postpetition.

            d.      Classifications. The listing of (a) a claim (i) on Schedule D as “secured,”
                    or (ii) on Schedule E/F as either “priority” or “unsecured,” or (b) a contract
                    or lease on Schedule G as “executory” or “unexpired” does not constitute

                                             3
Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 5 of 72




            an admission by the Debtors of the legal rights of the claimant or contract
            counterparty, or a waiver of the Debtors’ rights to recharacterize or
            reclassify such claim or contract pursuant to a schedule amendment, claim
            objection or otherwise. Moreover, although the Debtors may have
            scheduled claims of various creditors as secured claims for informational
            purposes, no current valuation of the Debtors’ assets in which such
            creditors may have a security interest has been undertaken. Except as
            provided in an order of the Court, the Debtors reserve all rights to dispute
            and challenge the secured nature or amount of any such creditor’s claims
            or the characterization of the structure of any transaction, or any document
            or instrument related to such creditor’s claim, including whether a lien or
            security interest is properly perfected under applicable law or subject to
            any potential avoidance actions.

       e.   Estimates and Assumptions. The preparation of the Schedules and
            Statements required the Debtors to make certain reasonable estimates and
            assumptions with respect to the reported amounts of assets and liabilities,
            the amount of contingent assets and contingent liabilities, and the reported
            amounts of revenues and expenses as of the Petition Date. Actual results
            could differ materially from such estimates. The Debtors reserve all rights
            to amend the reported amounts of assets and liabilities to reflect changes
            in those estimates or assumptions.

       f.   Causes of Action. Despite reasonable efforts, the Debtors may not have
            identified and/or set forth all of their causes of action (filed or potential)
            against third parties as assets in their Schedules and Statements, including,
            without limitation, avoidance actions arising under chapter 5 of the
            Bankruptcy Code and actions under other relevant bankruptcy and
            non-bankruptcy laws to recover assets. The Debtors reserve all rights with
            respect to any causes of action (including avoidance actions), controversy,
            right of setoff, cross claim, counterclaim, or recoupment and any claim on
            contracts or for breaches of duties imposed by law or in equity, demand,
            right, action, lien, indemnity, guaranty, suit, obligation, liability, damage,
            judgment, account, defense, power, privilege, license, and franchise of any
            kind or character whatsoever, known, unknown, fixed or contingent,
            matured or unmatured, suspected or unsuspected, liquidated or
            unliquidated, disputed or undisputed, secured or unsecured, assertable
            directly or derivatively, whether arising before, on, or after the Petition
            Date, in contract or in tort, in law or in equity, or pursuant to any other
            theory of law they may have (collectively, “Causes of Action”), and
            neither the Global Notes nor the Schedules and Statements shall be deemed
            a waiver of any such claims, Causes of Action, or avoidance actions, or in
            any way prejudice or impair the assertion of such claims or Causes of
            Action.

       g.   Property Rights. Exclusion of certain property rights, including without
            limitation intellectual, real, personal, or otherwise, from the Schedules and

                                     4
Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 6 of 72




            Statements should not be construed as an admission that such property
            rights have been abandoned, have been terminated or otherwise expired by
            their terms, or have been assigned or otherwise transferred pursuant to a
            sale, acquisition, or other transaction. Conversely, inclusion of certain
            property rights shall not be construed to be an admission that such property
            rights have not been abandoned, have not been terminated, or otherwise
            have not expired by their terms, or have not been assigned or otherwise
            transferred pursuant to a sale, acquisition, or other transaction. The
            Debtors have made every effort to attribute property rights to the rightful
            Debtor owner, however, in some instances, property rights owned by one
            Debtor may, in fact, be owned by another. Accordingly, the Debtors
            reserve all of their rights with respect to the legal status of any and all
            property rights.

       h.   Insiders. In the circumstances where the Schedules and Statements
            require information regarding “insiders,” the Debtors have included
            information with respect to the individuals and entities whom the Debtors
            believe may be included in the definition of “insider” set forth in section
            101(31) of the Bankruptcy Code during the relevant time periods. Such
            individuals may no longer serve in such capacities. The listing or omission
            of a party as an “insider” for the purposes of the Schedules and Statements
            is for informational purposes and is not intended to be nor should be
            construed as an admission that those parties are insiders for purposes of
            section 101(31) of the Bankruptcy Code. Information regarding the
            individuals or entities listed as insiders in the Schedules and Statements
            may not be used for: (a) the purposes of determining (i) control of the
            Debtors; (ii) the extent to which any individual or entity exercised
            management responsibilities or functions; (iii) corporate decision-making
            authority over the Debtors; or (iv) whether such individual or entity (or the
            Debtors) could successfully argue that they are not an insider under
            applicable law, including the Bankruptcy Code and federal securities laws,
            or with respect to any theories of liability or (b) any other purpose.
            Furthermore, certain of the individuals or entities identified as insiders
            may not have been insiders for the entirety of the twelve-month period
            before the Petition Date, but the Debtors have included them herein out of
            an abundance of caution. The Debtors reserve all rights with respect
            thereto.

       i.   Use of Artificial Intelligence. In certain situations, the Debtors and/or the
            Debtors’ advisors may have used artificial intelligence and/or machine
            learning technology in preparation of the information included in the
            SOFAs and Schedules. AI has many benefits including the ability to
            review large amounts of data in a relatively short period of time, and
            generate complex output based upon such data. However, AI technology
            has inherent limitations and can produce inaccurate results. In all cases
            where AI was utilized, the Debtors and/or the Debtors’ advisors made
            reasonable efforts to have a human review and edit the final content.

                                     5
     Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 7 of 72




                    However, inaccuracies may occur and consequently no assurances can be
                    made regarding the information derived based upon AI technology that
                    was included in the SOFAs and Schedules.

4. Methodology

     a.    Basis of Presentation. For financial reporting purposes, the Debtors generally
           prepare consolidating financial statements, which include financial information for
           both the Debtors and certain non-Debtor subsidiaries and affiliates. Combining the
           assets and liabilities set forth in the Debtors’ Schedules and Statements would result
           in amounts that would be substantially different from financial information that
           would be prepared on a consolidated basis under GAAP, due to eliminations related
           to intercompany and other transactions recorded on the Debtors’ financial
           statements. Therefore, these Schedules and Statements neither purport to represent
           financial statements prepared in accordance with GAAP nor are they intended to
           fully reconcile to the financial statements prepared by the Debtors. Unlike the
           consolidating financial statements, these Schedules and Statements, except where
           otherwise indicated, reflect the assets and liabilities of each separate Debtor.
           Information contained in the Schedules and Statements has been derived from the
           Debtors’ books and records and historical financial statements. Intercompany
           balances reflect available information at the time of filing and are subject to
           material change. The Debtors do not net intercompany accounts on a monthly
           basis, and certain balances may reflect intercompany transactions that occurred
           over the course of multiple years.

           The Debtors attempted to attribute the assets and liabilities to the proper Debtor
           entity. However, due to limitations within Debtors’ accounting systems, it is
           possible that not all assets or liabilities have been recorded with the correct legal
           entity on the Schedules and Statements. Accordingly, the Debtors reserve all rights
           to supplement and/or amend the Schedules and Statements in this regard.

           Given the uncertainty surrounding the collection, ownership, and valuation of
           certain assets and the amount and nature of certain liabilities, including contingent
           liabilities, a Debtor may report more assets than liabilities. Such report shall not
           constitute an admission that such Debtor was solvent on the Petition Date or at any
           time prior to or after the Petition Date. Likewise, a Debtor reporting more liabilities
           than assets shall not constitute an admission that such Debtor was insolvent on the
           Petition Date or at any time prior to or after the Petition Date. For the avoidance
           of doubt, nothing contained in the Schedules and Statements is indicative of the
           Debtors’ enterprise value. The Schedules and Statements contain unaudited
           information that is subject to further review and potential adjustment.

     b.    Reporting Date. Unless otherwise noted, the Schedules and Statements generally
           reflect the Debtors’ books and records as of the close of business on February 28,
           2025, and as of the Petition Date for liabilities, adjusted for certain authorized
           payments under the First Day Orders (as defined herein).


                                             6
        Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 8 of 72




        c.       Confidentiality or Sensitive Information. There may be instances in which
                 certain information in the Schedules and Statements intentionally has been redacted
                 due to, among other things, the nature of an agreement between a Debtor and a third
                 party, local restrictions on disclosure, concerns about the confidential or
                 commercially sensitive nature of certain information (e.g., personally identifiable
                 information of individuals), or concerns for the privacy of the Debtors’ creditors,
                 employees, and customers. The alterations will be limited to only what is necessary
                 to protect the Debtors or the applicable third party. The Debtors may also be
                 authorized or required to redact certain information from the public record pursuant
                 to orders of the Court authorizing the Debtors to redact, seal, or otherwise protect
                 such information from public disclosure. 2

        d.       Consolidated Entity Accounts Payable and Disbursement Systems.
                 Receivables and payables among the Debtors and among the Debtors and their non-
                 Debtor affiliates are reported on Statement 4, Schedule A/B, and Schedule E/F,
                 respectively, per the Debtors’ unaudited books and records. As described more
                 fully in the Emergency Motion Of Debtors For Entry Of Interim And Final Orders
                 (I) Authorizing Debtors To (A) Continue Existing Cash Management System, (B)
                 Maintain Existing Business Forms, And (C) Continue Intercompany Arrangements
                 And Transactions And (II) Graning Related Relief [Docket No. 10] (the “Cash
                 Management Motion”), the Debtors utilize an integrated, centralized cash
                 management system in the ordinary course of business to collect, concentrate, and
                 disburse funds generated by their operations (the “Cash Management System”).
                 The Debtors maintain a consolidated accounts payable and disbursements system
                 to pay operating and administrative expenses through various disbursement
                 accounts.

                 The listing of any amounts with respect to such receivables and payables is not, and
                 should not be construed as, an admission or conclusion of the Debtors regarding
                 the allowance, classification, validity, or priority of such account or
                 characterization of such balances as debt, equity, or otherwise. For the avoidance
                 of doubt, the Debtors reserve all rights, claims, and defenses in connection with any
                 and all intercompany receivables and payables including, but not limited to, with
                 respect to the characterization of intercompany claims, loans, and notes.

                 Prior to the Petition Date, the Debtors and certain non-Debtor affiliates and
                 subsidiaries engaged in intercompany transactions (the “Intercompany
                 Transactions”) in the ordinary course of business, which resulted in intercompany
                 receivables and payables (the “Intercompany Claims”). The Debtors maintain
                 strict records of the Intercompany Claims and can ascertain, trace, and account for
                 each of the Intercompany Transactions. Pursuant to the final order approving the
                 Cash Management Motion [Docket No. 307], the Court has granted the Debtors

2
    Such as the Order (I) Authorizing the Debtors to File a Consolidated Creditor Matrix and List of the 30 Largest
    Unsecured Creditors; (II) Authorizing the Debtors to Redact Certain Personally Identifiable Information;
    (III) Approving Form and Manner of Notice of Commencement ; and (IV) Granting Related Relief [Docket
    No. 56].


                                                        7
Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 9 of 72




      authority to continue to engage in Intercompany Transactions in the ordinary course
      of business subject to certain limitations set forth therein. Thus, intercompany
      balances as of the Petition Date, as set forth in Schedule A/B and Schedule E/F may
      not accurately reflect current positions.

      In addition, certain of the Debtors act on behalf of or make payments for other
      Debtors and certain non-Debtor affiliates and subsidiaries. Reasonable efforts have
      been made to indicate the ultimate beneficiary of a payment or obligation. Whether
      a particular payment or obligation was incurred by the entity actually making the
      payment or incurring the obligation is a complex question of applicable
      non-bankruptcy law, and nothing herein constitutes an admission that any Debtor
      entity is an obligor with respect to any such payment. The Debtors reserve all rights
      to reclassify any payment or obligation as attributable to another entity and all rights
      with respect to the proper accounting and treatment of such payments and liabilities.

e.    Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
      may properly be disclosed in response to multiple parts of the Statements and
      Schedules. To the extent these disclosures would be duplicative, the Debtors have
      endeavored to only list once such assets, liabilities, and prepetition payments.

f.    Net Book Value of Assets. In many instances, current market valuations are not
      maintained by or readily available to the Debtors. It would be prohibitively
      expensive, unduly burdensome, and an inefficient use of estate resources for the
      Debtors to obtain current market valuations for all assets. As such, unless otherwise
      indicated, net book values as of the Petition Date are presented for all assets. When
      necessary, the Debtors have indicated that the value of certain assets is “Unknown”
      or “Undetermined.” Amounts ultimately realized may vary materially from net
      book value (or other value so ascribed). Accordingly, the Debtors reserve all rights
      to amend, supplement, and adjust the asset values set forth in the Schedules and
      Statements. Assets that have been fully depreciated or that were expensed for
      accounting purposes either do not appear in these Schedules and Statements or are
      listed with a zero-dollar value, as such assets have no net book value. The omission
      of an asset from the Schedules and Statements does not constitute a representation
      regarding the ownership of such asset, and any such omission does not constitute a
      waiver of any rights of the Debtors with respect to such asset. Nothing in the
      Debtors’ Schedules and Statements shall be, or shall be deemed to be, an admission
      that any Debtor was solvent or insolvent as of the Petition Date or any time prior to
      the Petition Date.

g.    Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars,
      unless otherwise indicated.

h.    Payment of Prepetition Claims Pursuant to First Day Orders. Following the
      Petition Date, the Court entered various orders authorizing the Debtors to, among
      other things, pay certain prepetition: (i) service fees and charges assessed by the
      Debtors’ banks; (ii) insurance obligations; (iii) employee wages, salaries, and
      related items (including, but not limited to, obligations arising under employee

                                         8
       Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 10 of 72




                benefit programs and supplemental workforce obligations); (iv) taxes and
                assessments; (v) customer program obligations; and (vi) critical vendor obligations
                (collectively, with other relief granted by the Court with respect to motions filed by
                the Debtors on or immediately after the Petition Date, the “First Day Orders”).
                Accordingly, outstanding liabilities may have been reduced by any Court-approved
                postpetition payments made on prepetition payables. To the extent these liabilities
                have been satisfied, they are not listed in the Schedules and Statements, unless
                otherwise indicated. The Debtors reserve the right to update the Schedules and
                Statements to reflect additional payments made pursuant to an order of the Court
                (including the First Day Orders).

        i.      Other Paid Claims. To the extent the Debtors have reached any postpetition
                settlement with a vendor or other creditor, the terms of such settlement will prevail,
                supersede amounts listed in the Schedules and Statements, and shall be enforceable
                agreement by all parties, subject to any necessary Court approval. To the extent
                the Debtors pay any of the claims listed in the Schedules and Statements pursuant
                to any orders entered by the Court, the Debtors reserve all rights to amend and
                supplement the Schedules and Statements and take other action, such as filing
                claims objections, as is necessary and appropriate to avoid overpayment or
                duplicate payment for such liabilities.

        j.      Setoffs. The Debtors routinely incur setoffs in the ordinary course of business that
                arise from various items including, but not limited to, intercompany transactions,
                related-party transactions, counterparty settlements, pricing discrepancies,
                overpayments, returns, warranties, charge backs, credits, rebates, returns, refunds,
                negotiations, and/or disputes between the Debtors and their customers and/or
                suppliers. These normal, ordinary course setoffs and nettings are common in the
                Debtors’ line of business. Due to the voluminous nature of setoffs and nettings, it
                would be unduly burdensome and costly for the Debtors to list each such
                transaction. Therefore, these setoffs are not independently accounted for, and,
                accordingly, are excluded from the Schedules and Statements. Any setoff of a
                prepetition debt to be applied against the Debtors is subject to the automatic stay
                and must comply with section 553 of the Bankruptcy Code.

        k.      Accounts Receivable. The accounts receivable information listed on the
                Schedules includes receivables from the Debtors’ customers and are calculated net
                of any amounts that, as of the Petition Date, may be owed to such customers in
                the form of offsets or other price adjustments pursuant to the Debtors’ customer
                program policies and day-to-day operating policies and any applicable Court
                order. Certain intercompany receivables listed on the Schedules have been
                incurred pursuant to one or more of the Company’s Receivables Facilities 3 (as
                described in greater detail in Section II.F of the Disclosure Statement). The
                Debtors believe that the transactions underlying these receivables constitute true

3
    As defined in the Disclosure Statement for Joint Plan of Reorganization of DocuData Solutions, L.C. and Its
    Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 437] (the “Disclosure Statement”).


                                                      9
Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 11 of 72




      sales but nevertheless have included them on the Schedules out of an abundance
      of caution.

l.    Property and Equipment. Unless otherwise indicated, owned property and
      equipment are stated at net book value. The Debtors may lease furniture, fixtures,
      and equipment from certain third-party lessors, or may have secured financing
      arrangements with third parties for the payment of such equipment. To the extent
      possible, any such leases are set forth in the Schedules and Statements. Nothing in
      the Statements or Schedules is or shall be construed as an admission or
      determination as to the legal status of any lease (including whether any lease is a
      true lease or a financing arrangement), and the Debtors reserve all rights with
      respect to any of such issues including, but not limited to, the recharacterization
      thereof.

m.    Liens. The inventory, property, and equipment listed in the Statements and
      Schedules are presented without consideration of any asserted mechanics’,
      materialmen, or other liens that may attach (or have attached) to such property and
      equipment. UCC liens as of the Petition Date, if any, are listed on Schedule D. The
      Debtors reserve their right to dispute or challenge the validity, perfection, or
      immunity from avoidance of any lien purported to be perfected by a creditor.

n.    Excluded Assets and Liabilities. Certain liabilities resulting from accruals,
      liabilities recognized in accordance with GAAP, and/or estimates of long-term
      liabilities either are not payable at this time or have not yet been reported.
      Therefore, they do not represent specific claims as of the Petition Date and are not
      otherwise set forth in the Schedules. Additionally, certain deferred assets, charges,
      accounts or reserves recorded for GAAP reporting purposes only, and certain assets
      with a net book value of zero are not included in the Schedules. Excluded
      categories of assets and liabilities include, but are not limited to, deferred tax assets
      and liabilities, deferred income, deferred charges, self-insurance reserves, favorable
      lease rights, and unfavorable lease liabilities. In addition, and as set forth above,
      the Debtors may have excluded amounts for which the Debtors have paid or have
      been granted authority to pay pursuant to the First Day Orders or other order that
      may be entered by the Court. Other immaterial assets and liabilities may have been
      excluded.

o.    Undetermined Amounts. The description of an amount as “unknown,” or
      “undetermined” is not intended to reflect upon the materiality of such amount.

p.    Totals. All totals that are included in the Schedules and Statements represent totals
      of all the known amounts included in the Schedules and Statements and exclude
      items identified as “unknown” or “undetermined.” If there are unknown or
      undetermined amounts, the actual totals may be materially different from the listed
      totals. To the extent a Debtor is a guarantor of debt held by another Debtor, the
      amounts reflected in these Schedules are inclusive of each Debtor’s guarantor
      obligations.


                                         10
Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 12 of 72




q.    Credits and Adjustments. The claims of individual creditors for, among other
      things, goods, products, services, or taxes are listed as the amounts entered on the
      Debtors’ books and records and may either (i) not reflect credits, allowances, or
      other adjustments due from such creditors to the Debtors or (ii) be net of accrued
      credits, allowances, or other adjustments that are actually owed by a creditor to the
      Debtors on a postpetition basis on account of such credits, allowances, or other
      adjustments earned from prepetition payments and postpetition payments, if
      applicable. The Debtors reserve all of their rights with regard to such credits,
      allowances, and other adjustments, including but not limited to, the right to assert
      claims objections and/or setoffs with respect to the same.

r.    Guarantees and Other Secondary Liability Claims. The Debtors exercised their
      reasonable efforts to locate and identify guarantees and other secondary liability
      claims (the “Guarantees”) in their secured financings, debt instruments, and other
      agreements. However, a review of these agreements, specifically the Debtors’
      unexpired leases and executory contracts, is ongoing. Where such Guarantees have
      been identified, they have been included in the relevant Schedules G and H for the
      affected Debtor or Debtors. The Debtors have reflected the obligations under the
      Guarantees for both the primary obligor and the guarantors with respect to their
      secured financings and debt instruments on Schedule H. Guarantees embedded in
      the Debtors’ executory contracts, unexpired leases, secured financings, debt
      instruments, and other agreements inadvertently may have been omitted. The
      Debtors may identify additional Guarantees as they continue their review of their
      books and records and contractual agreements. The Debtors reserve their rights,
      but are not required, to amend the Schedules and Statements if additional
      Guarantees are identified.

s.    Leases. In the ordinary course of their business, the Debtors may lease property
      from certain third-party lessors for use in the daily operation of their business. Any
      such leases are set forth in Schedule G and any amount due under such leases that
      was outstanding as of the Petition Date is listed on Schedule E/F. The property
      subject to any of such leases is not reflected in Schedule A/B as either owned
      property or assets of the Debtors nor is such property reflected in the Debtors’
      Statements as property or assets of third parties within the control of the Debtors.
      However, in accordance with ASC 842, the Debtors have listed the value of the
      right of use assets related to such leases in the schedule of assets.

t.    Executory Contracts and Unexpired Leases. Although the Debtors made
      diligent efforts to attribute each executory contract and unexpired lease to its
      rightful Debtor, in certain instances, the Debtors may have inadvertently failed to
      do so. Accordingly, the Debtors reserve all of their rights with respect to the named
      parties of any and all executory contracts and unexpired leases, including the right
      to amend Schedule G. In addition, although the Debtors have made diligent
      attempts to properly identify executory contracts and unexpired leases, the
      inclusion or omission of a contract or lease on Schedule G does not constitute an
      admission or waiver as to the executory or unexpired nature (or non-executory or
      expired nature) of the contract or lease, or an admission as to the existence or

                                       11
      Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 13 of 72




               validity of any Claims held by any counterparty to such contract or lease.
               Furthermore, while the Debtors have made diligent attempts to properly identify all
               executory contracts and unexpired leases, inadvertent errors, omissions, or over-
               inclusion may have occurred.

       u.      Allocation of Liabilities. The Debtors, in consultation with their advisors, have
               sought to allocate liabilities between the prepetition and postpetition periods based
               on the information and research that was conducted in connection with the
               preparation of the Schedules and Statements. As additional information becomes
               available and further research is conducted, the allocation of liabilities between
               prepetition and postpetition periods may change. The Debtors reserve the right to
               amend and/or supplement the Schedules and Statements as they deem appropriate
               in this regard.

       v.      Unliquidated Claim Amounts. Claim amounts that could not be readily
               quantified by the Debtors are scheduled as “unliquidated.”



                                 Specific Schedule Disclosures

        Schedules A/B, D, E/F, G, and H may contain explanatory or qualifying notes that pertain
to the information provided in the Schedules. Those Schedule-specific notes are incorporated
herein by reference. Unless otherwise noted, the asset totals listed on the Schedules are derived
from amounts included in the Debtors’ books and records as of February 28, 2025. To the extent
there are unknown or undetermined amounts, the actual total may be different from the total listed.

1. Schedule A/B

       a.      Part 1. As more particularly described in the Cash Management Motion, the
               Debtors’ Cash Management System is composed of ninety-two (92) bank accounts,
               (each, a “Bank Account” and, collectively, the “Bank Accounts”). A majority of
               the Debtors’ Bank Accounts are located in the United States and are maintained
               with PNC Bank, National Association (“PNC”), Bank of America Corporation
               (“BoA”), Wells Fargo Bank, N.A. (“Wells Fargo”), and The Bank of Texas (“Bank
               of Texas”). Two Bank Accounts are maintained in Canada at Royal Bank of
               Canada (“RBC”). Further details with respect to the Cash Management System are
               provided in the Cash Management Motion.

       b.      Part 2. The Debtors maintain certain deposits in the ordinary course of their
               business operations. These deposits are included in the Schedules for the
               appropriate legal entity. Types of deposits include, among other things, security
               deposits, and utility deposits. Certain prepaid or amortized assets are not listed in
               Part 2 in accordance with the Debtors’ accounting policies. The amounts listed in
               Part 2 do not necessarily reflect values that the Debtors will be able to collect or
               realize.



                                                12
     Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 14 of 72




      c.    Part 3. The accounts receivable balances in this section exclude intercompany
            receivables. The Debtors believe that the transactions underlying the Company’s
            Receivables Facilities constitute true sales but nevertheless have included them on
            the Schedules out of an abundance of caution.

      d.    Part 4. Part 4 identifies only subsidiaries owned directly by the Debtors.
            Subsidiaries owned indirectly by the Debtors are not listed.

      e.    Part 5. The Debtors’ inventory is valued on a cost basis. Furthermore, the Debtors
            may have acquired certain inventory within twenty (20) days before the Petition
            Date, but the Debtors may have not yet determined the amount or value of such
            inventory. The Debtors reserve all rights with respect to the valuation of any
            inventories.

      f.    Part 7. Actual realizable values may vary significantly relative to net book values
            as of the Petition Date.

      g.    Part 8. Property leased by the Debtors is listed in Schedule G and is not listed in
            Part 8 of Schedule A/B, with the exception of any lease or security deposits for such
            property, which is listed on Schedule A/B. Actual realizable values of the assets
            identified may vary significantly relative to net book values as of the Petition Date.

      h.    Part 9. The Debtors’ net book value as of February 28, 2025 is based on right-of-
            use asset in accordance with ASC 842. This is not the valuation of the applicable
            landlord’s land and building. Rather, the net book value reflects the carrying value
            of the Debtors’ balance sheet as accounted for under Accounting Standards
            Codification 842 Leases.

      i.    Part 10. Part 10 identifies the various trademarks, patents, and website domains
            owned and maintained by the Debtors. The Schedules do not list the value of such
            intangible assets. Various software licenses the Debtors use for their operations
            which are easily obtainable and hold minimal value are not included.

      j.    Part 11. The Debtors maintain a portfolio of insurance policies to protect against
            unforeseen incidents and losses and describe such policies in the Order
            (I) Authorizing the Debtors to (A) Pay Prepetition Insurance Obligations, (B)
            Maintain Insurance Policies Postpetition, (C) Maintain the Bonding Program, (D)
            Maintain Postpetition Financing of Insurance Premiums; and (E) Honor Letters of
            Credit; and (II) Granting Related Relief [Docket No. 64] (the “Insurance Order”).
            Such policies are maintained by an affiliate of the Debtors, Exela Technologies,
            Inc., for the benefit of the Debtors. This listing does not include any policies owned
            by suppliers to which one or more Debtor entities may have been added as a
            beneficiary.

2. Schedule D

      a.    The claims listed on Schedule D, as well as the guarantees of those claims listed on
            Schedule H, arose and were incurred on various dates. To the best of the Debtors’

                                             13
     Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 15 of 72




            knowledge, all claims listed on Schedule D arose, or were incurred before the
            Petition Date.

      b.    Except as otherwise agreed or stated pursuant to a stipulation, agreed order, or
            general order entered by the Court that is or becomes final, the Debtors and/or their
            estates reserve their right to dispute and challenge the validity, perfection, or
            immunity from avoidance of any lien purported to be granted or perfected in any
            specific asset to a creditor listed on Schedule D of any Debtor and, subject to the
            foregoing limitations, note as follows: (a) although the Debtors may have
            scheduled claims of various creditors as secured claims for informational purposes,
            no current valuation of the Debtors’ assets in which such creditors may have a lien
            has been undertaken, and (b) the descriptions provided on Schedule D are intended
            to be a summary. Reference to the applicable loan agreements and related
            documents is necessary for a complete description of the collateral and the nature,
            extent, and priority of any liens.

      c.    The Debtors have not listed on Schedule D any parties whose claims may be
            secured through rights of setoff, deposits, or advance payments posted by, or on
            behalf of, the Debtors, or judgment or statutory lien rights. The Debtors have not
            investigated which of the claims may include such rights, and their population is
            currently unknown.

      d.    The amount of the claims listed on Schedule D include both principal and any
            interest accrued through February 28, 2025.

3. Schedule E/F

      a.    Part 1. The claims listed on Part 1 arose and were incurred on various dates. A
            determination of the date upon which each claim arose or was incurred would be
            unduly burdensome and cost prohibitive. Accordingly, no such dates are included
            for each claim listed on Part 1. To the best of the Debtors’ knowledge, all claims
            listed on Part 1 arose or were incurred before the Petition Date.

            The Debtors have not listed on Part 1 any wage or wage-related obligations or any
            tax or tax-related obligations that the Debtors have paid pursuant to the First Day
            Orders on Part 1. The Debtors believe that a majority of such claims for wages,
            salaries, expenses, benefits and other compensation that accrued prepetition, as
            described in the First Day Orders, have been or will be satisfied in the ordinary
            course during these chapter 11 cases pursuant to the authority granted to the Debtors
            in the relevant First Day Orders.

            Pursuant to the Motion of Debtors for Entry of an Order Authorizing the Debtors
            to Pay Prepetition Compensation Owed to a Key Employee [Docket No. 430] (the
            “Key Employee Motion”), the Debtors have sought authorization to pay prepetition
            amounts owed to a key employee for amounts in excess of the priority wage cap
            imposed by section 507(a)(4) of the Bankruptcy Code. Amounts sought to be paid
            in the Key Employee Motion total $596,347. The Debtors reserve their right to

                                             14
Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 16 of 72




      dispute or challenge whether creditors listed on Part 1 are entitled to priority claims
      under the Bankruptcy Code.

      In the ordinary course of business, the Debtors maintain certain deposits on behalf
      of their customers. Although the Debtors continue to receive these customer
      deposits, they have specifically included the customer deposit amounts as of
      February 28, 2025, in Part 1.

      Claims potentially owed to various taxing authorities by the Debtors are included
      in Part 1. As the company operates as a consolidated tax group, the Debtors have
      made efforts to provide all known information regarding their consolidated tax
      payment obligations. Consequently, any joint and several tax liabilities are noted
      in this section. Additionally, some of these tax claims may be subject to ongoing
      audits, or the Debtors may be unable to determine the exact amounts of the
      remaining claims listed in Part 1 with certainty.

      Therefore, the Debtors have listed all such claims as contingent and unliquidated,
      pending final resolution of ongoing audits or other outstanding issues.

b.    Part 2. The Debtors have exercised their reasonable efforts to list all liabilities on
      Part 2 of each applicable Debtor’s Schedule. As a result of the Debtors’
      consolidated operations, however, Part 2 for each Debtor should be reviewed in
      these cases for a complete understanding of the unsecured claims against the
      Debtors. Certain creditors listed on Part 2 may owe amounts to the Debtors and, as
      such, the Debtors may have valid setoff and recoupment rights with respect to such
      amounts. The amounts listed on Part 2 may not reflect any such right of setoff or
      recoupment, and the Debtors reserve all rights to assert the same and to dispute and
      challenge any setoff and/or recoupment rights that may be asserted against the
      Debtors by a creditor. Additionally, certain creditors may assert mechanics’ or
      other similar liens against the Debtors for amounts listed on Part 2. The Debtors
      reserve their right to dispute and challenge the validity, perfection, and immunity
      from avoidance of any lien purported to be perfected by a creditor listed on Part 2
      of any Debtor. In addition, certain claims listed on Part 2 may potentially be
      entitled to priority under section 503(b)(9) of the Bankruptcy Code.

      The Debtors have made reasonable efforts to include all unsecured creditors on Part
      2 including, but not limited to, software companies, landlords, utility companies,
      consultants, and other service providers. The Debtors, however, believe the
      possibility exists that there are instances where creditors have yet to provide proper
      invoices for prepetition goods or services. While the Debtors maintain general
      accruals to account for these liabilities in accordance with GAAP, these amounts
      are estimates and have not been included on Part 2.

      Unless otherwise noted, the claims listed on Part 2 are based on the Debtors’ books
      and records as of February 28, 2025. The Debtors have excluded workers’
      compensation claims from the Statements because the Debtors are fully insured for
      and continue to honor their workers’ compensation obligations in the ordinary

                                        15
Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 17 of 72




      course in accordance with the Order (I) Authorizing the Debtors to (A) Pay Certain
      Employee Compensation and Benefits and (B) Maintain and Continue Such
      Benefits and Other Employee-Related Programs; (II) Granting Relief from
      Automatic Stay with Respect to Workers’ Compensation Claims; and (III) Related
      Relief Emergency Motion [Docket No. 62] (the “Wages Order”).

      Part 2 does not include certain balances including deferred liabilities, accruals, or
      reserves. Such amounts are, however, reflected on the Debtors’ books and records
      as required in accordance with GAAP. Such accruals primarily represent estimates
      of liabilities and do not represent specific claims as of the Petition Date.

      Notwithstanding their unsecured nature, bonds listed in Part 2 will receive
      treatment that is pari passu with the Debtors’ secured debt.

      Part 2 does not include reserves for liabilities that may have arisen under litigation
      in which a Debtor is a defendant unless there is a final judgment or a settlement
      agreement.

      The claims of individual creditors may not reflect credits and/or allowances due
      from creditors to the applicable Debtor. The Debtors reserve all of their rights with
      respect to any such credits and/or allowances, including the right to assert
      objections and/or setoffs or recoupments with respect to same.

      The Court has authorized the Debtors to pay, in their discretion, certain non-priority
      unsecured claims pursuant to the First Day Orders. To the extent practicable, each
      Debtor’s Schedule E/F is intended to reflect the balance as of the Petition Date,
      adjusted for postpetition payments made under some or all of the First Day Orders.
      Each Debtor’s Schedule E/F will reflect all or a portion of Debtor’s payment of
      certain claims pursuant to the First Day Orders, and, to the extent an unsecured
      claim has been paid or may be paid in full, it is possible such claim is not included
      on Schedule E/F. Certain Debtors may pay additional claims listed on Schedule
      E/F during these chapter 11 cases pursuant to the First Day Orders and other orders
      of the Court and the Debtors reserve all of their rights to update Schedule E/F to
      reflect such payments or to modify the claims register to account for the satisfaction
      of such claims. Additionally, Schedule E/F does not include potential rejection
      damage claims, if any, of the counterparties to executory contracts and unexpired
      leases that may be rejected.

      As of the time of filing of the Schedules and Statements, the Debtors have not
      received all invoices for payables, expenses, and other liabilities that may have
      accrued prior to the Petition Date. Accordingly, the information contained in
      Schedules D and E/F may be incomplete. The Debtors reserve their rights, but
      undertake no obligations, to amend Schedules D and E/F if, or when, the Debtors
      receive such invoices. The Debtors have scheduled liabilities related to accounts
      payable based on the legal entities listed in association with the applicable charges
      in the Debtors’ various accounts payable systems. Accordingly, the legally liable
      Debtor entities (if any) may differ from the entities scheduled.

                                       16
     Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 18 of 72




4. Schedule G

      a.    Although reasonable efforts have been made to ensure the accuracy of Schedule G
            regarding executory contracts and unexpired leases (collectively,
            the “Agreements”), the Debtors’ review process of the Agreements is ongoing and
            inadvertent errors, omissions, or over-inclusion may have occurred. The Debtors
            may have entered into various other types of Agreements in the ordinary course of
            their businesses, such as indemnity agreements, supplemental agreements,
            amendments/letter agreements, and confidentiality agreements which may not be
            set forth in Schedule G. Omission of a contract or agreement from Schedule G does
            not constitute an admission that such omitted contract or agreement is not an
            executory contract or unexpired lease. Schedule G may be amended at any time to
            add any omitted Agreements. Likewise, the listing of an Agreement on Schedule
            G does not constitute an admission that such Agreement is an executory contract or
            unexpired lease or that such Agreement was in effect on the Petition Date or is valid
            or enforceable. The Agreements listed on Schedule G may have expired or may
            have been modified, amended, or supplemented from time to time by various
            amendments, restatements, waivers, estoppel certificates, letters and other
            documents, instruments, and agreements which may not be listed on Schedule G.

      b.    Contracts and leases listed in the Schedules and Statements may be umbrella or
            master agreements that cover relationships with some or all of the Debtors. Where
            relevant, such agreements have been listed in the Schedules and Statements only
            for the Debtor entity that signed the original umbrella or master agreement. Other
            Debtors, however, may be liable together with such Debtor on account of such
            agreements and the Debtors reserve all rights to amend the Schedules to reflect
            changes regarding the liability of the Debtors with respect to such agreements, if
            appropriate. The master service agreements have been listed in Schedule G, but do
            not reflect any decision by the applicable Debtor as to whether or not such
            agreements are executory in nature. Additionally, the Debtors may also place work
            and purchase orders under umbrella or master agreements, which may be
            considered executory contracts. Disclosure of all of these purchase and work
            orders, however, is impracticable and unduly burdensome. Accordingly, to the
            extent the Debtors have determined to disclose non-confidential umbrella or master
            agreements in Schedule G, purchase and work orders placed thereunder may have
            been omitted.

      c.    Due to concerns about potential harm to their business if their customer names were
            publicly disclosed, the Debtors have not listed customer contracts on Schedule G.
            Such customer contracts are filed under seal and are available by request. The
            Debtors have not listed non-disclosure, confidentiality, or related agreements on
            Schedule G.

5. Schedule H

      a.    The Debtors are party to various debt agreements which were executed by multiple
            Debtors. In the ordinary course of their businesses, the Debtors are involved in

                                             17
      Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 19 of 72




              pending or threatened litigation and claims arising out of the conduct of their
              businesses. Some of these matters may involve multiple plaintiffs and defendants,
              some or all of whom may assert cross-claims and counter-claims against other
              parties. To the extent such claims are listed elsewhere in the Schedules of each
              applicable Debtor, they have not been set forth individually on Schedule H. In the
              event that two or more Debtors are co-obligors with respect to a scheduled debt or
              guaranty, such debt or guaranty is listed in the Schedules and Statements of each
              such Debtor at the full amount of such potential claim. No claim set forth on the
              Schedules and Statements of any Debtor is intended to acknowledge claims of
              creditors that are otherwise satisfied or discharged by other Debtors or non-Debtors.
              To the extent these Global Notes include notes specific to Schedules D-G, such
              Global Notes also apply to the co-Debtors listed in Schedule H. The Debtors
              reserve all of their rights to amend the Schedules to the extent that additional
              guarantees are identified or such guarantees are discovered to have expired or be
              unenforceable.

        Specific Notes with Respect to the Debtors’ Statements of Financial Affairs

1. Statement 1. The income stated in the Debtors’ response to Statement 1 is consistent with the
   consolidated sales disclosed in compliance with GAAP. The Debtors’ fiscal year ends on
   December 31 of each calendar year:

       a.     FY 2023: Comprised of consolidated revenues for the fiscal year ended December
              31, 2023.

       b.     FY 2024: Comprised of consolidated revenues for the fiscal year ended December
              31, 2024.

       c.     Stub Period 2025: Comprised of consolidated revenues for the 2 months ending
              February 28, 2025.

2. Statement 3. As described in the Cash Management Motion, the Debtors utilize their
   integrated, centralized Cash Management System to collect, concentrate, and disburse funds
   generated by their operations. Due to the centralized nature of the Cash Management System,
   only a few Debtors disburse payments, such as SourceHOV LLC, Exela Enterprise Solutions,
   Inc., Regulus Integrated Solutions, LLC, and BancTec, Inc.

       a.     The payments disclosed in Statement 3 are based on payments made by the Debtors
              with payment dates from December 3, 2024 to March 3, 2025. Amounts still owed
              to creditors will appear on the Schedules for each Debtor, as applicable.

       b.     Non-U.S. Dollar transactions are converted to U.S. Dollar using prevailing
              exchange rate for the week.

       c.     The response to Statement 3 excludes payments and disbursements or transfers for
              this period, which are listed, to the extent required, on Statement 4.



                                               18
      Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 20 of 72




       d.      The response to Statement 3 excludes payments for services of any entities that
               provided consultation concerning debt counseling or restructuring services, relief
               under the Bankruptcy Code, or preparation of a petition in bankruptcy for this
               period, which are listed on Statement 11.

3. Statement 4. As outlined in the Cash Management Motion, the Debtors operate a centralized
   Cash Management System that allows them to disburse funds on behalf of non-Debtor
   affiliates. Such disbursements include payments to counterparties and service providers to
   whom non-Debtor affiliates are indebted and then charged to the non-Debtor entity through an
   intercompany transaction. Payments to third-parties on behalf of non-Debtor affiliates are
   listed on Statement 4.

   Although Statement 4 accounts for payments to counterparties providing direct services to non-
   Debtor affiliate insiders, it does not include payments to umbrella programs and service
   providers, such as insurance policies, that may also ultimately benefit the Debtors.

   The Debtors make disbursements to certain non-Debtor affiliates who, in turn, pay certain
   insiders of the Debtors through payroll. To ensure completeness, the Debtors have listed both
   the payments made to non-Debtor affiliates as well as the insider payroll amounts in Statement
   4. However, this may result in double counting the amounts transferred.

   There are instances in which non-Debtor entities pay amounts on behalf of insiders for travel
   expenses and then seek reimbursement from the Debtors. Such amounts are less than $10,000
   and are not listed in Statement 4.

4. Statement 7. Information provided on Statement 7 includes only those legal disputes and
   administrative proceedings that are formally recognized by an administrative, judicial, or other
   adjudicative forum. While the Debtors believe they were diligent in their efforts, it is possible
   that certain suits and proceedings may have been inadvertently excluded in the Debtors’
   response to Statement 7. The Debtors reserve all of their rights to amend or supplement their
   response to Statement 7.

5. Statement 11. All payments for services of any entities that provided consultation concerning
   debt counseling or restructuring services, relief under the Bankruptcy Code, or preparation of
   a petition in bankruptcy within one year immediately preceding the Petition Date are listed on
   the applicable Debtor’s response to Statement 11. Additional information regarding the
   Debtors’ retention of professional service firms is more fully described in individual retention
   applications filed with the Court and related orders.

   In addition, the Debtors have listed payments made to professionals retained by the Debtors
   but not payments made to advisors of their postpetition lenders or other parties.

6. Statement 16. The Debtors collect a limited amount of information about customers and their
   representatives. Examples of the types of information collected by the Debtors include, among
   other things, name, mailing address, telephone number and banking information.

7. Statement 21. In the ordinary course of business, the Debtors maintain certain deposits on
   behalf of their customers for postal services. Although the Debtors continue to receive these

                                                19
      Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 21 of 72




   customer deposits, they have specifically included the customer deposit amounts as of
   February 28, 2025.

8. Statement 25. The Debtors have used their reasonable efforts to identify the beginning and
   ending dates of all businesses in which the Debtors were a partner or owned 5 percent or more
   of the voting or equity securities within the six years immediately preceding the Petition Date.

   Businesses with no Employer Identification Number listed are foreign businesses.

9. Statement 26. The Debtors provide certain parties such as banks, auditors, potential investors,
   vendors and financial advisors with financial statements that may not be part of a public filing.
   The Debtors do not maintain detailed records tracking such disclosures.

10. Statement 26. The Debtors do not conduct regular inventory counts of their supplies.

11. Statement 29. Due to the absence of a precise and comprehensive record of the periods of
    service for each director and officer at each of the Debtors, the Debtors have opted to adopt an
    overinclusive approach in their listing. The Debtors have attempted to list every person who
    may be considered to have been in control of each Debtor at the time of the filing of the case
    to ensure that all potential individuals who may have held such positions are accounted for.

12. Statement 30. Refer to Section 4 (Methodology) regarding all payments to insiders.




                                                20
               Case
Novitex Holdings, Inc. 25-90023              Document 549 Filed in TXSB on 05/06/25 Page 22Case
                                                                                            of 72
                                                                                                Number: 25-90075


 Fill in this information to identify the case and this filing:

 Debtor Name:                                            Novitex Holdings, Inc.

 United States Bankruptcy Court:                       Southern District of Texas

 Case Number (if known):                                       25-90075




Form 206A/B

Schedule A/B: Assets - Real and Personal Property
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no
book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


   Part 1:      Cash and cash equivalents


1. Does the debtor have any cash or cash equivalents?
             No. Go to Part 2.
             Yes. Fill in the information below.


  General Description                                                        Type of Account           Last 4 digits of         Current value of
                                                                              (if applicable)           account # (if           debtor's interest
                                                                                                         applicable)


2. Cash on hand



3. Checking, savings, money market, or financial brokerage accounts (Identify all)



4. Other cash equivalents (Identify all)



5. Total of Part 1.
   Add lines 2 through 4. Copy the total to line 80.




                                                          Schedule AB Part 1 - Page 1 of 1
               Case
Novitex Holdings, Inc. 25-90023              Document 549 Filed in TXSB on 05/06/25 Page 23Case
                                                                                            of 72
                                                                                                Number: 25-90075


Schedule A/B: Assets - Real and Personal Property
    Part 2:        Deposits and prepayments




6. Does the debtor have any deposits or prepayments?
             No. Go to Part 3.
             Yes. Fill in the information below.


 General Description                                                                               Current value of debtor's
                                                                                                           interest


7. Deposits, including security deposits and utility deposits
   Description, including name of holder of deposit



8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment



9. Total of Part 2.
   Add lines 7 through 8. Copy the total to line 81.




                                                         Schedule AB Part 2 - Page 1 of 1
               Case
Novitex Holdings, Inc. 25-90023              Document 549 Filed in TXSB on 05/06/25 Page 24Case
                                                                                            of 72
                                                                                                Number: 25-90075


Schedule A/B: Assets - Real and Personal Property
    Part 3:       Accounts receivable




10. Does the debtor have any accounts receivable?
            No. Go to Part 4.
            Yes. Fill in the information below.


 General Description                                             Face or requested            Doubtful or     Current value of
                                                                 amount                       uncollectable   debtor's interest


11. Accounts receivable



12. Total of Part 3.
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.




                                                           Schedule AB Part 3 - Page 1 of 1
               Case
Novitex Holdings, Inc. 25-90023             Document 549 Filed in TXSB on 05/06/25 Page 25Case
                                                                                           of 72
                                                                                               Number: 25-90075


Schedule A/B: Assets - Real and Personal Property
    Part 4:       Investments




13. Does the debtor own any investments?
            No. Go to Part 5.
            Yes. Fill in the information below.


 General Description                                                        Valuation method used for   Current value of debtor's
                                                                            current value                       interest


14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
    partnership, or joint venture
    Name of entity:

15.1 SEE ATTACHED




16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
    Describe:




17. Total of Part 4.
                                                                                                                           $0.00
    Add lines 14 through 16. Copy the total to line 83.




                                                          Schedule AB Part 4 - Page 1 of 1
                                                                                                                                                                                                                                            Attachment
                                                                                                                                                                                                                                           Case        forDocument
                                                                                                                                                                                                                                                25-90023  Schedule A/B
                                                                                                                                                                                                                                                                   549 Part
                                                                                                                                                                                                                                                                        Filed4 in TXSB on 05/06/25 Page 26 of 72




                                                                                                                                                                                                             Company Organizational Chart
Entity Legend:

               Debtor-Borrower, Issuer or Co-Issuer under the Blue Torch
               Facility, July 2026 Notes, or April 2026 Notes

               Debtor-Guarantors of April 2026 Notes                                                                                                                                                                                        As of the Petition Date
               Debtor-Guarantors of July 2026 Notes

                Debtor-Guarantors of Blue Torch Facility
                                                                                                                                                                                                                                                                                     Exela
                                                                                                                                                                                                                                                                                Technologies, Inc.

               Debtor-Originators under PNC AR Facility

               Debtor- Originators under the BR Exar AR
               Facility                                                                                                                                                                Exela Technologies
                                                                                                                                                                                            BPA, LLC               GP 2XCV                ETI IP                 ETI RE                          ETI-MNA                  ETI-XCV
                                                                                                                                                                                                                 Holdings, LLC         Holdings, LLC          Holdings, LLC                    Holdings, LLC            Holdings, LLC
                                                                                                                                                                                           (Delaware)




                                                                                                                                                                                              Exela
                                                                                                                                                                                                                   GP 2XCV             GP 3XCV LLC                ETI RE                         ETI-MNA                   ETI-XCV
                                                                                                                                                                                        Intermediate LLC
                                                                                                                                                                                                                     LLC             (f/k/a ETI IP LLC)            LLC                              LLC                      LLC
                                                                                                                                                                                           (Delaware)




    Novitex Holdings,                                                                                                                                                                      SourceHOV                                                                                                                  NEON Acquisition,
          Inc.                                                                                                                            Exela Finance Inc.                              Holdings, Inc.                                                                                                                    LLC
                                                                                                                                                                                                                                                                                                                                                      XCV-STS               XCV-HM,                                                               XCV-EMEA, LLC
                                                                                                                                                                                                                                                                                                                        (f/k/a Novitex
       (Delaware)                                                                                                                            (Delaware)                                    (Delaware)                                                                                                                   Acqusition LLC)                 LLC                   LLC                                                                   (Delaware)
                                                                                                                                                                                                                                                                                                                           (Nevada)


         Novitex
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Shares/Warrants held
    Intermediate, LLC                                                                                                                                                                                                                                                                                                  Exela Enterprise                                                                                                                                                     by: Trust, Sponsor,
       (Delaware)                                                                                                                                                                       SOURCEHOV LLC                                                                                                                   Solutions, Inc.                                                                                                          BTC Int'l Holdings,                      Independent Directors
                                                                                                                                                                                           (Delaware)                                                                                                                                                                                                                                                   Inc.                                    and Public
                                                                                                                                                                                                                                                                                                                           (Florida)

        Novitex
      Government
     Solutions, LLC
                                                                                                                                                                                                                                                                                                                           Novitex
       (Delaware)                                                                                                                                                                                                                                                                                                         Enterprise
                                                                                                                                                                                                                                                                             Pangea                                                                                                                                                                                      XBP Europe,
                                                                                        CorpSource                                                                                                                                                                                                                    Solutions Canada,                                                                                                                                  Holdings Inc.
                                                                                                                                                                                       HOV Services, LLC                            FTS Parent Inc.                        Acquisitions                                      Inc.
                                                                                       Holdings, LLC
                                                                                                                                                                                            (Nevada)                                 (Delaware)                               Inc.
      SIG-GP, L.L.C.                                                                    (Delaware)                                                                                                                                                                                                                        (Ontario)
                                                                                                                                                                                                                                                                           (Delaware)
       (Delaware)

                                                                                                                                                                                                                                                                                                                                                                                                                                                                         XBP Europe,
         Services                                                                                                                                               HOV Enterprise                                                                                                                                                                                                                                                                                               Inc.
       Integration                                                PCH Subscription     SOURCECORP,                                                               Services, Inc.         Rustic Canyon III,                                                               BancTec Group
                                                                    Services, LLC       Incorporated                                                           (a/k/a Enterprise                                 HOV Services,     TransCentra, Inc.                          LLC
       Group, L.P.                                                                                                                                                                             LLC
                                                                                                                                                                   Services)                                     (Beijing) Ltd.      (Delaware)
       (Delaware)                                                       USD             (Delaware)                                                                                        (Minnesota)                                                                      (Delaware)
                                                                                                                                                                 (New Jersey)

                                                                                                                                                                                                                                                                                                                                                                                                                                                                       BancTec Holding
                                                                                                                                                                                                                                                                                                                                                                                                                            Plexus Europe        XBP Europe                                     Dataforce Interact
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            N.V.
                                                                                                                                                                                                                                                                                                                                                                                                                                 Ltd.          Limited (Note 3)                                   Holdings Ltd.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        (Netherlands)



                                                                        United                                                                                     Meridian
      SOURCECORP                                SourceHOV                             SOURCECORP BPS                                   SOURCECORP
                                                                     Information                                 Exela RE LLC                                  Consulting Group,       Charter Lason, Inc.                                                RC4 Capital, LLC                BancTec, Inc.
        Legal Inc.                            HealthCare, Inc.                             Inc.                                       Management, Inc.                                                                                                                                                                                                                                                       Exela
                                                                     Services, Inc.                               (Delaware)                                          LLC                  (Delaware)                                                       (Delaware)                     (Delaware)                                                                                                                      GP Auto Empire     SDS Applications                                    DF Property            HOV Global
       (Delaware)                             (South Carolina)                          (Delaware)                                         (Texas)                                                                                                                                                                                                                                                      Technologies BV
                                                                         (Iowa)                                                                                    (Nevada)                                                                                                                                                                                                                                                     Ltd.              Limited                                         Portfolio Ltd.      Services Ltd. (UK)
                                                                                                                                                                                                                                                                                                                                                                                                         (Netherlands)




                                               Exela XBP, LLC
                             Economic           (f/k/a Regulus                                                                                                                                                                                                                               BancTec                                                                                                     Recognition
     Rust Consulting,                                                  Glo-X, Inc.                                                                                                          Imagenes               Lason                                  DFG2 Holdings,                                                                                           DocuData           BancTec (Puerto                     BancTec (Canada),     SDS Trading
                         Research Services,     Tri-State LLC &                                S-CORP                                                          HOV Services, Inc.                                                                                                         Intermediate         BTC Ventures, Inc.              BancTec                                                  Mexico Holding
           Inc.                                                                                                                                                                         Digitales, S.A. de   International, Inc.                               LLC                                                                                               Solutions, L.C.         Rico), Inc.                            Inc.                                                            Dataforce Interact
                                Inc.             f/k/a Merco              (OK)            Philippines, Inc.                                                       (Delaware)                                                                                                               Holding, Inc.          (Delaware)              (Philippines) Inc.                                                 Inc.                               Applications
       (Minnesota)                                                                                                                                                                             C.V.              (Delaware)                                 (Delaware)                                                                                                                  (Delaware)                                                                                                     Ltd.
                                                Holdings, LLC)
                                                                                                                                                                                                                                                                                           (Delaware)                                                                (Texas)                                                  (Ontario)           Limited
                             (Florida)          (Delaware)                                                                                                                                                                                                                                                                                                                                                (Delaware)




                                                                                                                                                                                          Promotora de                                                                                                                                                                                                   Recognition de     SourceHOV
    Kinsella Media LLC                           ExelaPay                                   LexiCode                                 SourceHOV India             HOV Services                                                                                DFG2, LLC               BancTec India Pvt.                                                         Digital Mailroom,         DrySign,
                                                                                                                                                                                         Tecnologia, S.A.                                                                                                                                                                                                Mexico S.A. de   Canada Company
     (Pennsylvania)                                LLC                                    Healthcare, Inc.                               Pvt. Ltd.              (Nanchang), Ltd                                                                             (Delaware)                     Ltd.                                                                         LLC                 LLC
                                                                                                                                                                                             de C.V.                                                                                                                                                                                                          C.V.          (Nova Scotia)




                                                                                          Managed Care                                                                                                       Regulus Holding                                                                                                                                                                                 Exela              Exela                                       Exela                                          Exela                                Exela
                                                                                                                                                                                                                                   J & B Software,         Plexus Global                                            TRAC Holdings,                Exela               Exela                                                                        Exela                                            Exela
                                                                                         Professionals, LLC                                                                                                        Inc.                                                                      HOVG, LLC                                                                                  BancTec B.V.     Technologies       Technologies                               Technologies sp.                                Technologies        BancTec Europe   Technologies
                                                                                                                                                                                                                                         Inc.               Finance, LLC                                                 LLC                Technologies RE      Technologies AB                                                              Technologies AS                                  Technologies S.A.
                                                                                            (Delaware)                                                                                                                                                                                        (Nevada)                                                                                 (Netherlands)     Holding GmbH        Iberica S.A.                                   z.o.o.                                    d.o.o. Belgrade         Limited         Payment
                                                                                                                                                                                                               (Delaware)           (Pennsylvania)          (Delaware)                                                (Delaware)           B.V. (Netherlands)       (Sweden)                                                                     (Norway)                                           (France)
                                                                                                              Exela Receivables 3                                                                                                                                                                                                                                                                          (Germany)           (Spain)                                    (Poland)                                        (Serbia)                          Solutions Ltd.
                                                                                                                  Holdco, LLC




                                                                                                                                                                                    Regulus Group            Regulus Group II                                                                                                                    Exela
                                                                                           Deliverex, LLC                                                                                                                                                                                                                Exela                                    Drescher Euro-       Drescher Full-       ASTERION                               Exela                                         Orone Contact
                                                                                                                                                                                         LLC                       LLC                                                                                                                        Technologies                                                                O.T. Drescher AG
                                                                                            (Delaware)                                                                                                                                                                                                               Technologies                                 label Sp Z.o.o.     Service Versand     International                        Technologies               Arista SAS                 SARL            Fedaso France SAS
                                                                                                              Exela Receivables 3,                                                                             (Delaware)                                                                                                                        GmbH                                                                       (Switzerland)
                                                                                                                                                                                      (Delaware)                                                                                                                   India Private Ltd.                                (Poland)              GmbH               GmbH                             Services SAS*                                       (Morocco)
                                                                                                                      LLC                                                                                                                                                                                                                      (Germany)



                                                                                                                                                                                        Regulus
                                                                                         SOURCECORP de                                                                                Integrated
                                                                                          Mexico S.A. de                                                                             Solutions LLC                                                                                                                                                Exela
                                                                                                                                                                                                                                                                                                                                                                     BancTec
                                                                                              C.V.                                                                                                                                                                                                                                         Technologies ECM                           ASTERION France      ASTERION          ASTERION           ASTERION                ASTERION DM
                                                                                                                                                                                      (Delaware)                                                                                                                        TRAC LLC                                Transaktionsservice
                                                                                                                                                                                                                                                                                                                                            Solutions GmbH                                 S.A.S.         Belgium N.V.      Sweden A.B.        Denmark A/S               Finland A.B.
                                                                                                                                                                                                                                                                                                                                                                  GmbH (Austria)
                                                                                                                                                                                                                                                                                                                                               (Germany)

                                                                                                                                                                                    Regulus America
                                                                                             BillSmart                                                                                    LLC
                                                                                           Solutions LLC                                                                              (Delaware)




                                                                                                                                                                                    Regulus West LLC
                                                                                                                                                                                      (Delaware)
               Case
Novitex Holdings, Inc. 25-90023             Document 549 Filed in TXSB on 05/06/25 Page 27Case
                                                                                           of 72
                                                                                               Number: 25-90075


Schedule A/B: Assets - Real and Personal Property
    Part 5:        Inventory, excluding agriculture assets - detail




18. Does the debtor own any inventory (excluding agriculture assets)?
            No. Go to Part 6.
            Yes. Fill in the information below.


 General Description                                           Date of the       Net book value      Valuation    Current value
                                                              last physical         of debtor's    method used     of debtor's
                                                                inventory        interest (Where    for current     interest
                                                                                    available)         value


19. Raw materials



20. Work in progress



21. Finished goods, including goods held for resale



22. Other Inventory or supplies



23. Total of Part 5.
    Add lines 19 through 22. Copy the total to line 84.



24. Is any of the property listed in Part 5 perishable?
            No.
            Yes.

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No.
            Yes.

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No.
            Yes.




                                                          Schedule AB Part 5 - Page 1 of 1
               Case
Novitex Holdings, Inc. 25-90023             Document 549 Filed in TXSB on 05/06/25 Page 28Case
                                                                                           of 72
                                                                                               Number: 25-90075


Schedule A/B: Assets - Real and Personal Property
    Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)




27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
            No. Go to Part 7.
            Yes. Fill in the information below.


 General Description                                                   Net book value of     Valuation method    Current value
                                                                        debtor's interest     used for current    of debtor's
                                                                       (Where available)           value           interest


28. Crops-either planted or harvested



29. Farm animals



30. Farm machinery and equipment



31. Farm and fishing supplies, chemicals, and feed



32. Other farming and fishing-related property not already listed in Part 6



33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 84.



34. Is the debtor a member of an agricultural cooperative?
            No.
            Yes.

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
            No.
            Yes.

36. Is a depreciation schedule available for any of the property listed in Part 6?
            No.
            Yes.

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
            No.
            Yes.




                                                          Schedule AB Part 6 - Page 1 of 1
               Case
Novitex Holdings, Inc. 25-90023             Document 549 Filed in TXSB on 05/06/25 Page 29Case
                                                                                           of 72
                                                                                               Number: 25-90075


Schedule A/B: Assets - Real and Personal Property
    Part 7:        Office furniture, fixtures, and equipment; and collectibles - detail




38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
            No. Go to Part 8.
            Yes. Fill in the information below.


 General Description                                                   Net book value of     Valuation method    Current value
                                                                        debtor's interest     used for current    of debtor's
                                                                       (Where available)           value           interest


39. Office furniture



40. Office fixtures



41. Office equipment, including all computer equipment and communication systems equipment and software



42. Collectibles



43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 84.



44. Is a depreciation schedule available for any of the property listed in Part 7?
            No.
            Yes.

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No.
            Yes.




                                                          Schedule AB Part 7 - Page 1 of 1
               Case
Novitex Holdings, Inc. 25-90023             Document 549 Filed in TXSB on 05/06/25 Page 30Case
                                                                                           of 72
                                                                                               Number: 25-90075


Schedule A/B: Assets - Real and Personal Property
    Part 8:        Machinery, equipment, and vehicles




46. Does the debtor own or lease any machinery, equipment, or vehicles?
            No. Go to Part 9.
            Yes. Fill in the information below.


 General Description                                                   Net book value of     Valuation method    Current value
                                                                        debtor's interest     used for current    of debtor's
                                                                       (Where available)           value           interest


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles



48. Watercraft, trailers, motors, and related accessories



49. Aircraft and accessories



50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)



51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 84.



52. Is a depreciation schedule available for any of the property listed in Part 8?
            No.
            Yes.

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No.
            Yes.




                                                          Schedule AB Part 8 - Page 1 of 1
               Case
Novitex Holdings, Inc. 25-90023             Document 549 Filed in TXSB on 05/06/25 Page 31Case
                                                                                           of 72
                                                                                               Number: 25-90075


Schedule A/B: Assets - Real and Personal Property
    Part 9:        Real property - detail




54. Does the debtor own or lease any real property?
            No. Go to Part 9.
            Yes. Fill in the information below.


 Description and location of property                              Nature and          Net book value                Valuation    Current
                                                                    extent of             of debtor's              method used    value of
                                                                    debtor's           interest (Where              for current   debtor's
                                                                   interest in            available)                   value      interest
                                                                    property


55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest



56. Total of Part 9.
    Add the current value on all Question 55 lines and entries from any additional sheets. Copy the total to line 88.



57. Is a depreciation schedule available for any of the property listed in Part 9?
            No.
            Yes.

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No.
            Yes.




                                                           Schedule AB Part 9 - Page 1 of 1
               Case
Novitex Holdings, Inc. 25-90023             Document 549 Filed in TXSB on 05/06/25 Page 32Case
                                                                                           of 72
                                                                                               Number: 25-90075


Schedule A/B: Assets - Real and Personal Property
   Part 10:        Intangibles and intellectual property - detail




59. Does the debtor have any interests in intangibles or intellectual property?
            No. Go to Part 11.
            Yes. Fill in the information below.


 General Description                                                   Net book value of      Valuation method       Current value
                                                                        debtor's interest      used for current       of debtor's
                                                                       (Where available)            value              interest


60. Patents, copyrights, trademarks, and trade secrets



61. Internet domain names and websites



62. Licenses, franchises, and royalties



63. Customer lists, mailing lists, or other compilations



64. Other intangibles, or intellectual property



65. Goodwill

65.1 GOODWILL                                                                                                        UNDETERMINED



66. Total of Part 10.
                                                                                                                  UNDETERMINED
    Add lines 60 through 65. Copy the total to line 89.



67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and
    107)?
            No.
            Yes.

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No.
            Yes.

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No.
            Yes.




                                                          Schedule AB Part 10 - Page 1 of 1
               Case
Novitex Holdings, Inc. 25-90023             Document 549 Filed in TXSB on 05/06/25 Page 33Case
                                                                                           of 72
                                                                                               Number: 25-90075


Schedule A/B: Assets - Real and Personal Property
   Part 11:        All other assets




70. Does the debtor own any other assets that have not yet been reported on this form? Include all interests in executory
    contracts and unexpired leases not previously reported on this form.
            No. Go to Part 12.
            Yes. Fill in the information below.


 General Description                                                                                         Current value of
                                                                                                             debtor's interest




71. Notes receivable



72. Tax refunds and unused net operating losses (NOLs)



73. Interests in insurance policies or annuities



74. Causes of action against third parties (whether or not a lawsuit has been filed)



75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and
    rights to set off claims



76. Trusts, equitable or future interests in property



77. Other property of any kind not already listed Examples: Season tickets, country club membership



78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.



79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No.
            Yes.




                                                          Schedule AB Part 11 - Page 1 of 1
                Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 34 of 72


Schedule A/B: Assets - Real and Personal Property
   Part 12:     Summary



 Type of property                                                                     Current value    Current value    Total of all
                                                                                       of personal        of real        property
                                                                                        property         property


80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                         $0.00


81. Deposits and prepayments. Copy line 9, Part 2.                                             $0.00


82. Accounts receivable. Copy line 12, Part 3.                                                 $0.00


83. Investments. Copy line 17, Part 4.                                                         $0.00


84. Inventory. Copy line 23, Part 5.                                                           $0.00


85. Farming and fishing-related assets. Copy line 33, Part 6.                                  $0.00


86. Office furniture, fixtures, and equipment; and collectibles. Copy line 43, Part            $0.00
    7.


87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                  $0.00


88. Real property. Copy line 56, Part 9.                                                                        $0.00


89. Intangibles and intellectual property. Copy line 66, Part 10.                     UNDETERMINED


90. All other assets. Copy line 78, Part 11.                                                   $0.00


91. Total. Add lines 80 through 90 for each column.                                            $0.00            $0.00
                                                                                      + UNDETERMINED




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.                                                            $0.00




                                                       Schedule AB Part 12 - Page 1 of 1
Novitex Holdings, Inc.                            Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 35 of 72                                                               Case Number: 25-90075


 Fill in this information to identify the case and this filing:

 Debtor Name:                                        Novitex Holdings, Inc.

 United States Bankruptcy Court:                   Southern District of Texas

 Case Number (if known):                                   25-90075




Form 206D

Schedule D: Creditors Who Have Claims Secured by Property
Be as complete and accurate as possible.

   Part 1:      List Creditors Who Have Secured Claims


1. Do any creditors have claims secured by debtor's property?
             No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
             Yes. Fill in the information below.

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim, list the creditor separately for each claim.

 Creditor's Name and Mailing Address, E-mail                  Co-         Insider        Co-         Date Claim was Incurred, Property                       C-U-D      Amount of          Value of
 Address & An Account Number                                Interest                    Debtor       Description, Lien & Co-Interest Creditor                            Claim             Collateral




April 2026 Senior Secured Notes

2.1 U.S. BANK TRUST COMPANY, NATIONAL                                                              DATE: 07/11/2023                                                   $1,319,106,629.00
    ASSOCIATION, AS TRUSTEE
    WEST SIDE FLATS
    60 LIVINGSTON AVE.
    ATTN: ADMINISTRATOR--EXELA INTERMEDIATE
    LLC
    ST. PAUL, MN 55107

                                                                                                                                      April 2026 Senior Secured Notes Total: $1,319,106,629.00     $0.00


Blue Torch Term Loan


                                                                                         Schedule D Part 1 - Page 1 of 2
Novitex Holdings, Inc.                        Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 36 of 72                                                       Case Number: 25-90075


Schedule D: Creditors Who Have Claims Secured by Property
   Part 1:       List Creditors Who Have Secured Claims


 Creditor's Name and Mailing Address, E-mail        Co-Interest    Insider    Co-Debtor         Date Claim was Incurred, Property              C-U-D         Amount of         Value of
 Address & An Account Number                                                                  Description, Lien & Co-Interest Creditor                        Claim            Collateral


2.2 BLUE TORCH FINANCE LLC, AS                                                             DATE: 07/11/2023                                                 $38,500,000.00
    ADMINISTRATIVE AGENT AND COLLATERAL
    AGENT
    C/O BLUE TORCH CAPITAL LP
    150 EAST 58TH STREET, 39TH FLOOR
    NEW YORK, NY 10155
    EMAIL:
    BLUETORCHAGENCY@ALTERDOMUS.COM

                                                                                                                                         Blue Torch Term Loan Total: $38,500,000.00    $0.00


UCC Liens

2.3 WILMINGTON SAVINGS FUND SOCIETY, FSB,                                                  DATE: 7/11/2023                                                  UNDETERMINED
    AS COLLATERAL AGENT
    838 N MARKET ST
    WILMINGTON, DE 19801
    ACC NUMBER: 6229

                                                                                                                                                 UCC Liens Total: UNDETERMINED         $0.00



3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                                       $1,357,606,629.00 + UNDETERMINED




                                                                                 Schedule D Part 1 - Page 2 of 2
               Case
Novitex Holdings, Inc. 25-90023        Document 549 Filed in TXSB on 05/06/25 Page 37Case
                                                                                      of 72
                                                                                          Number: 25-90075


Schedule D: Creditors Who Have Claims Secured by Property
    Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1




4. List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
   listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors

 Name and Mailing Address                                            Part 1 Line on which the          Last 4 Digits of Account
                                                                     Related Creditor was              Number for this Entity
                                                                     Listed



Blue Torch Term Loan

4.1 KING & SPALDING LLP
    1185 AVENUE OF THE AMERICAS
    ATTN: JENNIFER DALY
    NEW YORK, NY 10036
4.2 SEI - BLUE TORCH CAPITAL LOANS OPS
    1 FREEDOM VALLEY DRIVE
    OAKS, PA 19456




                                                    Schedule D Part 2 - Page 1 of 1
               Case
Novitex Holdings, Inc. 25-90023            Document 549 Filed in TXSB on 05/06/25 Page 38Case
                                                                                          of 72
                                                                                              Number: 25-90075


 Fill in this information to identify the case and this filing:

 Debtor Name:                                          Novitex Holdings, Inc.

 United States Bankruptcy Court:                    Southern District of Texas

 Case Number (if known):                                      25-90075




Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

   Part 1:      List All Creditors with PRIORITY Unsecured Claims


1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor
   has more than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

 Creditor's Name, Mailing Address                     Date Claim Was            C-U-D           Offset        Total Claim            Priority
 Including Zip Code                                   Incurred And                                                                   Amount
                                                      Account
                                                      Number



Taxes

2.1 ACADIA PARISH SCHOOL BOARD                                                                                UNDETERMINED                    $0.00
    SALES & USE TAX DEPT
    P.O. DRAWER 309
    CROWLEY, LA 70527-0309
2.2 ALABAMA DEPT OF REVENUE                                                                                   UNDETERMINED                    $0.00
    BANKRUPTCY SECTION
    LEGAL DIVISION
    P.O. BOX 320001
    MONTGOMERY, AL 36132-001
2.3 ALABAMA DEPT OF REVENUE                                                                                   UNDETERMINED                    $0.00
    INCOME TAX ADMINISTRATION DIVISION
    BUSINESS PRIVILEGE TAX SECTION
    GORDON PERSONS BLDG
    MONTGOMERY, AL 36104
2.4 ALABAMA DEPT OF REVENUE                                                                                   UNDETERMINED                    $0.00
    INCOME TAX ADMINISTRATION DIVISION
    CORPORATE TAX SECTION
    P.O. BOX 327435
    MONTGOMERY, AL 36132-7435
2.5 ALABAMA DEPT OF REVENUE                                                                                   UNDETERMINED                    $0.00
    50 N RIPLEY ST, STE 4112
    MONTGOMERY, AL 36130
2.6 ALABAMA DEPT OF REVENUE                                                                                   UNDETERMINED                    $0.00
    SALES & USE TAX DIVISION
    P.O. BOX 327710


                                                        Schedule EF Part 1 - Page 1 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 39Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:    List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D          Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

   MONTGOMERY, AL 36132-7710
2.7 ALABAMA DEPT OF REVENUE                                                               UNDETERMINED             $0.00
   50 N RIPLEY ST
   MONTGOMERY, AL 36130
2.8 ALLEN PARISH SCHOOL BOARD                                                             UNDETERMINED             $0.00
   SALES & USE TAX DEPT
   P.O. DRAWER 190
   OBERLIN, LA 70655
2.9 ARCADIA PARISH                                                                        UNDETERMINED             $0.00
   2402 N PARKERSON AVE
   CROWLEY, LA 70526
2.10 ARIZONA DEPT OF REVENUE                                                              UNDETERMINED             $0.00
    1600 W MONROE ST
    PHOENIX, AZ 85007
2.11 ARIZONA DEPT OF REVENUE                                                              UNDETERMINED             $0.00
    3191 N WASHINGTON ST
    CHANDLER, AZ 85225
2.12 ARIZONA DEPT OF REVENUE                                                              UNDETERMINED             $0.00
    2902 W AGUA FRIA FWY
    PHOENIX, AZ 85027
2.13 ARIZONA DEPT OF REVENUE                                                              UNDETERMINED             $0.00
    P.O. BOX 29082
    PHOENIX, AZ 85038
2.14 ARKANSAS DEPT OF FINANCE AND                                                         UNDETERMINED             $0.00
    ADMIN
    ATTN: BRYAN WEST
    STATE REVENUE ADMIN, RAGLAND
    BLDG
    1900 W 7TH ST, RM 2062
    LITTLE ROCK, AR 72201
2.15 ARKANSAS DEPT OF FINANCE AND                                                         UNDETERMINED             $0.00
    ADMIN
    STATE REVENUE ADMIN
    P.O. BOX 1272
    LITTLE ROCK, AR 72203
2.16 ARKANSAS DEPT OF FINANCE AND                                                         UNDETERMINED             $0.00
    ADMIN
    LEDBETTER BUILDING
    1816 W 7TH ST, RM 2250
    LITTLE ROCK, AR 72201
2.17 ARKANSAS DEPT OF FINANCE AND                                                         UNDETERMINED             $0.00
    ADMIN
    P.O. BOX 919
    LITTLE ROCK, AR 72203
2.18 ASCENSION PARISH                                                                     UNDETERMINED             $0.00
    SALES & USE TAX AUTHORITY
    P.O. BOX 1718
    GONZALES, LA 70707

                                             Schedule EF Part 1 - Page 2 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 40Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:    List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D          Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

2.19 AVOYELLES PARISH SCHOOL BOARD                                                        UNDETERMINED             $0.00
    221 TUNICA DR
    W MARKSVILLE, LA 71351
2.20 BALDWIN COUNTY                                                                       UNDETERMINED             $0.00
    22070 HWY 59
    THE REGIONS BANK BLDG, 1ST FL
    ROBERTSDALE, AL 36567
2.21 BEXAR COUNTY                                                                         UNDETERMINED             $0.00
    BEXAR COUNTY COURTHOUSE
    100 DOLOROSA
    SAN ANTONIO, TX 78205
2.22 BOSSIER CITY - PARISH SALES & USE                                                    UNDETERMINED             $0.00
    TAX DIVISION
    620 BENTON ROAD
    BOSSIER CITY, LA 71111
2.23 BUREAU OF REVENUE - SALES TAX                                                        UNDETERMINED             $0.00
    1300 PERDIDO ST
    1W15
    NEW ORLEANS, LA 70112
2.24 BUTLER COUNTY                                                                        UNDETERMINED             $0.00
    700 COURT SQ
    GREENVILLE, AL 36037
2.25 BUTTE COUNTY                                                                         UNDETERMINED             $0.00
    TAX COLLECTOR
    25 COUNTY CTR DR, STE 125
    OROVILLE, CA 95965-3367
2.26 CALCASIEU PARISH SCHOOL BOARD                                                        UNDETERMINED             $0.00
    3310 BROAD ST
    LAKE CHARLES, LA 70615
2.27 CALIFORNIA DEPT OF TAX & FEE                                                         UNDETERMINED             $0.00
    ADMIN
    P.O. BOX 942879
    SACRAMENTO, CA 94279-8062
2.28 CENTENNIAL CIVIC CENTER                                                              UNDETERMINED             $0.00
    CENTENNIAL CIVIC CENTER
    13133 E ARAPAHOE RD
    CENTENNIAL, CO 80112
2.29 CHAMPAIGN COUNTY                                                                     UNDETERMINED             $0.00
    1776 E WASHINGTON ST
    URBANA, IL 61802
2.30 CITY AND BOROUGH OF JUNEAU                                                           UNDETERMINED             $0.00
    155 HERITAGE WAY
    CITY HALL – ROOM 106
    JUNEAU, AK 99801
2.31 CITY CLERK - REVENUE DEPT                                                            UNDETERMINED             $0.00
    1318 HUEYTOWN RD
    HUEYTOWN, AL 35023-2415



                                             Schedule EF Part 1 - Page 3 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 41Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:       List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D          Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

2.32 CITY HALL                                                                            UNDETERMINED             $0.00
    816 HWY 52 E
    HELENA, AL 35080
2.33 CITY OF ALAMOSA                                                                      UNDETERMINED             $0.00
    P.O. BOX 419
    ALAMOSA, CO 81101
2.34 CITY OF ARVADA                                                                       UNDETERMINED             $0.00
    8101 RALSTON RD
    ARVADA, CO 80002
2.35 CITY OF AURORA                                                                       UNDETERMINED             $0.00
    15151 E ALAMEDA PKWY
    AURORA, CO 80012
2.36 CITY OF BATON ROUGE                                                                  UNDETERMINED             $0.00
    P.O. BOX 1471
    BATON ROUGE, LA 70821
2.37 CITY OF BOULDER                                                                      UNDETERMINED             $0.00
    1777 BROADWAY
    BOULDER, CO 80302
2.38 CITY OF COLORADO SPRINGS                                                             UNDETERMINED             $0.00
    DEPT 2408
    DENVER, CO 80256-0001
2.39 CITY OF COMMERCE CITY                                                                UNDETERMINED             $0.00
    TAX DIVISION
    7887 E 60TH AVE
    COMMERCE CITY, CO 80022
2.40 CITY OF CORTEZ                                                                       UNDETERMINED             $0.00
    123 ROGER SMITH AVE
    CORTEZ, CO 81321
2.41 CITY OF DELTA                                                                        UNDETERMINED             $0.00
    360 MAIN ST
    DELTA, CO 81416
2.42 CITY OF DENVER                                                                       UNDETERMINED             $0.00
    201 W COLFAX AVE, DEPT 1009
    DENVER, CO 80202
2.43 CITY OF DURANGO                                                                      UNDETERMINED             $0.00
    CITY HALL
    949 E 2ND AVE
    DURANGO, CO 81301
2.44 CITY OF FORT COLLINS                                                                 UNDETERMINED             $0.00
    215 N MASON ST, 2ND FL
    P.O. BOX 580
    FT COLLINS, CO 80522-0580
2.45 CITY OF GLENWOOD SPRINGS                                                             UNDETERMINED             $0.00
    GLENWOOD SPRINGS CITY HALL
    101 W 8TH ST
    GLENWOOD SPRINGS, CO 81601
2.46 CITY OF GOLDEN                                                                       UNDETERMINED             $0.00

                                             Schedule EF Part 1 - Page 4 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 42Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:    List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D          Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

    911 10TH ST
    GOLDEN, CO 80401
2.47 CITY OF GRAND JUNCTION                                                               UNDETERMINED             $0.00
    250 N 5TH ST, 2ND FL
    GRAND JUNCTION, CO 81501
2.48 CITY OF GREELEY                                                                      UNDETERMINED             $0.00
    P.O. BOX 1648
    GREELEY, CO 80632
2.49 CITY OF LA JUNTA                                                                     UNDETERMINED             $0.00
    P.O. BOX 489
    LA JUNTA, CO 81050
2.50 CITY OF LAFAYETTE                                                                    UNDETERMINED             $0.00
    1290 S PUBLIC RD
    LAFAYETTE, CO 80026
2.51 CITY OF LAKEWOOD                                                                     UNDETERMINED             $0.00
    480 S ALLISON PKWY
    LAKEWOOD, CO 80226
2.52 CITY OF LAMAR                                                                        UNDETERMINED             $0.00
    102 E PARMENTER ST
    LAMAR, CO 81052
2.53 CITY OF LITTLETON                                                                    UNDETERMINED             $0.00
    2255 W BERRY AVE
    LITTLETON, CO 80120
2.54 CITY OF LIVONIA                                                                      UNDETERMINED             $0.00
    33000 CIVIC CENTER DR
    LIVONIA, MI 48154-3060
2.55 CITY OF LONDON                                                                       UNDETERMINED             $0.00
    501 S MAIN ST
    LONDON, KY 40741
2.56 CITY OF LONE TREE                                                                    UNDETERMINED             $0.00
    9220 KIMMER DR, STE 100
    LONE TREE, CO 80124
2.57 CITY OF MEMPHIS                                                                      UNDETERMINED             $0.00
    ATTN: TREASURERS OFFICE SHELBY
    P.O. BOX 185
    MEMPHIS, TN 38101-0185
2.58 CITY OF MONROE/OUACHITA PARISH                                                       UNDETERMINED             $0.00
    TAXATION & REVENUE DIVISION
    P.O. BOX 123
    MONROE, LA 71210-0123
2.59 CITY OF MONTROSE                                                                     UNDETERMINED             $0.00
    400 E MAIN ST
    P.O. BOX 790
    MONTROSE, CO 81402
2.60 CITY OF NORTHGLENN                                                                   UNDETERMINED             $0.00
    CITY HALL
    11701 COMMUNITY CTR DR


                                             Schedule EF Part 1 - Page 5 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 43Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:     List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D          Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

    NORTHGLENN, CO 80233
2.61 CITY OF PARKER                                                                       UNDETERMINED             $0.00
    SALES TAX ADMINISTRATION
    P.O. BOX 5602
    DENVER, CO 80217-5602
2.62 CITY OF PELL CITY                                                                    UNDETERMINED             $0.00
    1905 1ST AVE N
    PELL CITY, AL 35125
2.63 CITY OF PIEDMONT                                                                     UNDETERMINED             $0.00
    P.O. BOX 112
    PIEDMONT, AL 36272
2.64 CITY OF PRATTVILLE                                                                   UNDETERMINED             $0.00
    FINANCE DEPT
    P.O. BOX 680190
    PRATTVILLE, AL 36068-0190
2.65 CITY OF SHREVEPORT                                                                   UNDETERMINED             $0.00
    CADDO-SHREVEPORT SALES & USE
    TAX COMM
    P.O. BOX 104
    SHREVEPORT, LA 71161
2.66 CITY OF ST LOUIS                                                                     UNDETERMINED             $0.00
    P.O. BOX 16994
    CLAYTON, MO 63105
2.67 CITY OF STAMFORD                                                                     UNDETERMINED             $0.00
    888 WASHINGTON BLVD
    STAMFORD, CT 06902
2.68 CITY OF STEAMBOAT                                                                    UNDETERMINED             $0.00
    115 10TH ST
    STEAMBOAT SPRINGS, CO 80487
2.69 CITY OF STERLING                                                                     UNDETERMINED             $0.00
    421 N 4TH ST
    P.O. BOX 4000
    STERLING, CO 80751
2.70 CITY OF THORNTON                                                                     UNDETERMINED             $0.00
    ATTN: SALES TAX
    9500 CIVIC CENTER DR
    THORNTON, CO 80229
2.71 CITY OF TROY                                                                         UNDETERMINED             $0.00
    500 W BIG BEAVER RD
    TROY, MI 48084
2.72 CITY OF VAIL                                                                         UNDETERMINED             $0.00
    75 S FRONTAGE RD W
    VAIL, CO 81657
2.73 CITY OF WESTMINSTER                                                                  UNDETERMINED             $0.00
    P.O. BOX 17107
    DENVER, CO 80217-7107
2.74 CITY OF WHEAT RIDGE CITY HALL                                                        UNDETERMINED             $0.00


                                             Schedule EF Part 1 - Page 6 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 44Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:     List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D          Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

    7500 W 29TH AVE
    WHEAT RIDGE, CO 80033
2.75 CITY OF WINTER PARK                                                                  UNDETERMINED             $0.00
    50 VASQUEZ ROAD
    P.O. BOX 3327
    WINTER PARK, CO 80482
2.76 CIVIL & TAX DIVISION                                                                 UNDETERMINED             $0.00
    120 S STEWART ST
    DERIDDER, LA 70634
2.77 CLAY COUNTY                                                                          UNDETERMINED             $0.00
    TAX COLLECTOR
    P.O. BOX 218
    GREEN COVE SPRINGS, FL 32043
2.78 CLAYTON COUNTY                                                                       UNDETERMINED             $0.00
    TAX OFFICE
    745 FOREST PKWY
    FOREST PARK, GA 30297
2.79 COLORADO DEPT OF REVENUE                                                             UNDETERMINED             $0.00
    1881 PIERCE ST
    ENTRANCE B
    LAKEWOOD, CO 80214
2.80 COLORADO DEPT OF REVENUE                                                             UNDETERMINED             $0.00
    STATE TAX OFFICE DENVER
    1375 S SHERMAN ST
    DENVER, CO 80261
2.81 COLORADO DEPT OF REVENUE                                                             UNDETERMINED             $0.00
    P.O. BOX 17087
    DENVER, CO 80217
2.82 COLORADO DEPT OF REVENUE                                                             UNDETERMINED             $0.00
    TAXATION DIVISION
    LAKEWOOD, CO 80214
2.83 COMMONWEALTH OF PENNSYLVANIA                                                         UNDETERMINED             $0.00
    DEPT OF REVENUE
    DEPT 280901
    HARRISBURG, PA 17128
2.84 COMPTROLLER OF MARYLAND                                                              UNDETERMINED             $0.00
    60 WEST ST, STE 102
    ANNAPOLIS, MD 21401
2.85 COMPTROLLER OF MARYLAND                                                              UNDETERMINED             $0.00
    REVENUE ADMINISTRATION DIVISION
    110 CARROLL ST
    ANNAPOLIS, MD 21401
2.86 COMPTROLLER OF THE TREASURY                                                          UNDETERMINED             $0.00
    110 CARROLL ST, STE 1
    ANNAPOLIS, MD 21411
2.87 CULLMAN COUNTY COMMISSION                                                            UNDETERMINED             $0.00
    SALES TAX/REVENUE ENFORCEMENT
    P.O. BOX 1206

                                             Schedule EF Part 1 - Page 7 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 45Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:    List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D          Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

    CULLMAN, AL 35056
2.88 DALLAS COUNTY                                                                        UNDETERMINED             $0.00
    TAX OFFICE
    500 ELM ST, STE 3300
    DALLAS, TX 75202
2.89 DALPHNE REVENUE DIVION                                                               UNDETERMINED             $0.00
    P.O. DRAWER 1047
    DAPHNE, AL 36526
2.90 DC OFFICE OF TAX AND REVENUE                                                         UNDETERMINED             $0.00
    1101 4TH ST SW, STE 270 W
    WASHINGTON, DC 20024
2.91 DEKALB COUNTY                                                                        UNDETERMINED             $0.00
    2414 AIRPORT RD W
    FT PAYNE, AL 35968-3316
2.92 DELAWARE DIVISION OF REVENUE                                                         UNDETERMINED             $0.00
    THOMAS COLLINS BLDG
    540 S DUPONT HWY
    DOVER, DE 19901
2.93 DELAWARE DIVISION OF REVENUE                                                         UNDETERMINED             $0.00
    ATTN: KATHY L REVEL,DIRECTOR OF
    REVENUE
    COPORATE RETURNS
    P.O. BOX 2044
    WILIMINGTON, DE 19899-2044
2.94 DEPARTMENT OF THE TREASURY                                                           UNDETERMINED             $0.00
    FINANCIAL MANAGEMENT SERVICE
    CHECK RESOLUTION DIVISION
    P.O. BOX 51316
    PHILADELPHIA, PA 19115-6316
2.95 DEPT OF REVENUE - TAX DIV                                                            UNDETERMINED             $0.00
    ATTN: JOANN M EVERSON
    P.O. BOX 110420
    JUNEAU, AK 99811-0420
2.96 DEPT OF REVENUE - TREASURY                                                           UNDETERMINED             $0.00
    DIVISION
    P.O. BOX 110405
    JUNEAU, AK 99811
2.97 DEPT OF REVENUE SERVICES                                                             UNDETERMINED             $0.00
    P.O. BOX 5030
    HARTFORD, CT 06102-5030
2.98 DEPT OF REVENUE SERVICES                                                             UNDETERMINED             $0.00
    450 COLUMBUS BLVD, STE 1
    HARTFORD, CT 06103
2.99 DEPT OF REVENUE TAX DIV                                                              UNDETERMINED             $0.00
    ATTN: JAMIE K TAYLOR
    550 W 7TH AVE, STE 500
    ANCHORAGE, AK 99501
2.100 DEPT OF THE TREASURY                                                                UNDETERMINED             $0.00

                                             Schedule EF Part 1 - Page 8 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 46Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:    List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D          Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

     SUT MONTHLY RETURN
     P.O. BOX 9024140
     SAN JUAN, PR 00902-4140
2.101 DIRECTOR OF TAXATION                                                                UNDETERMINED             $0.00
     830 PUNCHBOWL ST, RM 221
     HONOLULU, HI 96813-5094
2.102 DISTRICT OF COLUMBIA                                                                UNDETERMINED             $0.00
     1101 4TH ST SW, STE 270 W
     WASHINGTON, DC 20024
2.103 DIVISION OF REVENUE - WILMINGTON                                                    UNDETERMINED             $0.00
     OFFICE
     820 N FRENCH ST
     WILMINGTON, DE 19801
2.104 DUVAL COUNTY                                                                        UNDETERMINED             $0.00
     TAX COLLECTOR
     231 E FORSYTH ST, STE 130
     JACKSONVILLE, FL 32202
2.105 EL PASO COUNTY                                                                      UNDETERMINED             $0.00
     TAX OFFICE
     500 E SAN ANTONIO
     EL PASO, TX 79901
2.106 EVANGELINEPARISH SALES/USETAX                                                       UNDETERMINED             $0.00
     COMMISSION
     P.O.BOX 367
     VILLE PLATTE, LA 70586-0367
2.107 FINANCE & ADMINISTRATION DEPT                                                       UNDETERMINED             $0.00
     501 N W ST, STE 1201A
     JACKSON, MS 39201
2.108 FINANCE DEPT                                                                        UNDETERMINED             $0.00
     TAX & LICENSING DIVISION
     1000 ENGLEWOOD PKWY
     ENGLEWOOD, CO 80110-2373
2.109 FLORIDA DEPT OF REVENUE                                                             UNDETERMINED             $0.00
     5050 W TENNESSEE ST
     TALLAHASSEE, FL 32399-0120
2.110 FLORIDA DEPT OF REVENUE                                                             UNDETERMINED             $0.00
     GENERAL COUNSEL
     P.O. BOX 6668
     TALLAHASSEE, FL 32314-6668
2.111 FLORIDA DEPT OF REVENUE                                                             UNDETERMINED             $0.00
     TAXPAYER SERVICES
     MAIL STOP 3-200
     5050 W TENNESSEE ST
     TALLAHASSEE, FL 32399-0112
2.112 FULTON COUNTY                                                                       UNDETERMINED             $0.00
     P.O. BOX 105052
     ATLANTA, GA 30348
2.113 GEORGIA DEPT OF REVENUE                                                             UNDETERMINED             $0.00

                                             Schedule EF Part 1 - Page 9 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 47Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:     List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

     2595 CENTURY PKWY NE
     ATLANTA, GA 30345
2.114 GEORGIA DEPT OF REVENUE                                                              UNDETERMINED             $0.00
     COMPLIANCE DIVISION-CENTRAL
     COLLECTION SECTION
     1800 CENTURY BLVD NE, STE 9100
     ATLANTA, GA 30345-3202
2.115 GEORGIA DEPT OF REVENUE                                                              UNDETERMINED             $0.00
     1800 CENTURY BLVD NE, STE 12000
     ATLANTA, GA 30345
2.116 GRAPEVINE COLLEYVILLE ISD                                                            UNDETERMINED             $0.00
     TAX OFFICE
     3072 MUSTANG DR
     GRAPEVINE, TX 76051
2.117 GREENWOOD VILLAGE CITY HALL                                                          UNDETERMINED             $0.00
     GREENWOOD VILLAGE CITY HALL
     6060 S QUEBEC ST
     GREENWOOD VILLAGE, CO 80111
2.118 GWINNETT COUNTY                                                                      UNDETERMINED             $0.00
     TAX COMMISSIONER
     P.O. BOX 372
     LAWRENCEVILLE, GA 30046-0372
2.119 HALEYVILLE CITY HALL                                                                 UNDETERMINED             $0.00
     911 21ST ST
     HALEYVILLE, AL 35565
2.120 HAWAII                                                                               UNDETERMINED             $0.00
     DIRECTOR OF TAXATION
     830 PUNCHBOWL ST, RM 221
     HONOLULU, HI 96813-5094
2.121 HAWAII DEPT OF TAXATION                                                              UNDETERMINED             $0.00
     DIRECTOR OF TAXATION, CIVIL LEGAL
     COMPLAINTS/LEGAL PROCESS
     830 PUNCHBOWL ST, RM 221
     HONOLULU, HI 96813-5094
2.122 HAWAII DEPT OF TAXATION                                                              UNDETERMINED             $0.00
     FRANCHISE AND PUBLIC SERVICE
     COMPANY TAX
     P.O. BOX 259
     HONOLULU, HI 96809-0259
2.123 IBERIA PARISH SCHOOL BOARD                                                           UNDETERMINED             $0.00
     1500 JANE ST
     NEW IBERIA, LA 70563
2.124 IBERVILLE PARISH GOVERNMENT                                                          UNDETERMINED             $0.00
     P.O. BOX 389
     PLAQUEMINE, LA 70765
2.125 IBERVILLE PARISH GOVERNMENT                                                          UNDETERMINED             $0.00
     58050 MERIAM ST
     PLAQUEMINE, LA 70764

                                             Schedule EF Part 1 - Page 10 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 48Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:    List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

2.126 IDAHO STATE TAX COMMISSION                                                           UNDETERMINED             $0.00
     11321 W CHINDEN BLVD
     BOISE, ID 83714-1021
2.127 IDAHO STATE TAX COMMISSION                                                           UNDETERMINED             $0.00
     P.O. BOX 36
     BOISE, ID 83722
2.128 ILLINOIS DEPT OF REVENUE                                                             UNDETERMINED             $0.00
     555 W MONROE ST, STE 1100
     CHICAGO, IL 60661
2.129 ILLINOIS DEPT OF REVENUE                                                             UNDETERMINED             $0.00
     BANKRUPTCY UNIT
     P.O. BOX 19035
     SPRINGFIELD, IL 62794-9035
2.130 ILLINOIS DEPT OF REVENUE                                                             UNDETERMINED             $0.00
     CORPORATION INCOME - WITHOUT
     PAYMENT
     P.O. BOX 19048
     SPRINGFIELD, IL 62794-9048
2.131 ILLINOIS DEPT OF REVENUE                                                             UNDETERMINED             $0.00
     101 W JEFFERSON ST
     SPRINGFIELD, IL 62702
2.132 ILLINOIS DEPT OF REVENUE                                                             UNDETERMINED             $0.00
     P.O. BOX 19013
     SPRINGFIELD, IL 62794
2.133 INDIANA DEPARTMENT OF REVENUE                                                        UNDETERMINED             $0.00
     ATTN: CHARLOTTE ALLEN,
     SUPERVISOR
     BANKRUPTCY SECTION
     100 N SENATE AVE, MS 108
     INDIANAPOLIS, IN 46204
2.134 INDIANA DEPARTMENT OF REVENUE                                                        UNDETERMINED             $0.00
     CORPORATE INCOME TAX, TAX
     ADMINISTRATION
     P.O. BOX 7206
     INDIANAPOLIS, IN 46207-7206
2.135 INDIANA DEPARTMENT OF REVENUE                                                        UNDETERMINED             $0.00
     100 N SENATE AVE, RM N105
     INDIANAPOLIS, IN 46204
2.136 INDIANA DEPARTMENT OF REVENUE                                                        UNDETERMINED             $0.00
     100 N SENATE AVE, STE N248
     INDIANAPOLIS, IN 46204
2.137 IOWA DEPT OF REVENUE                                                                 UNDETERMINED             $0.00
     HOOVER STATE OFFICE BLDG
     1305 E WALNUT ST, 1ST FL
     DES MOINES, IA 50319
2.138 IOWA DEPT OF REVENUE                                                                 UNDETERMINED             $0.00
     BANKRUPTCY
     P.O. BOX 10330

                                             Schedule EF Part 1 - Page 11 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 49Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:     List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

     DES MOINES, IA 50306-0330
2.139 IOWA DEPT OF REVENUE                                                                 UNDETERMINED             $0.00
     IOWA CORPORATION INCOME TAX
     P.O. BOX 10466
     DES MOINES, IA 50306-0466
2.140 IRS ADVISORY GROUP                                                                   UNDETERMINED             $0.00
     55 N. ROBINSON
     MS 5021
     OKLAHOMA CITY, OK 73102
2.141 IRVING ISD                                                                           UNDETERMINED             $0.00
     TAX OFFICE
     2621 W AIRPORT FWY
     IRVING, TX 75062
2.142 JACKSON COUNTY                                                                       UNDETERMINED             $0.00
     TAXING OFFICE
     415 E 12TH ST
     KANSAS CITY, MO 64106
2.143 JEFFERSON COUNTY                                                                     UNDETERMINED             $0.00
     716 RICHARD ARRINGTON JR BLVD N
     BIRMINGHAM, AL 35203
2.144 JEFFERSON COUNTY                                                                     UNDETERMINED             $0.00
     TAX OFFICE
     531 COURT PL, STE 604
     LOUISVILLE, KY 40202
2.145 JEFFERSON COUNTY DEPT OF                                                             UNDETERMINED             $0.00
     REVENUE
     P.O. BOX 830710
     BIRMINGHAM, AL 35283-0710
2.146 JEFFERSON DAVIS PARISH SALES &                                                       UNDETERMINED             $0.00
     USE TAX
     P.O. BOX 1161
     JENNINGS, LA 70546
2.147 JEFFERSON DAVIS PARISH SALES &                                                       UNDETERMINED             $0.00
     USE TAX
     203 E PLAQUEMINE ST
     JENNINGS, LA 70546
2.148 JEFFERSON PARISH SHERIFF’S                                                           UNDETERMINED             $0.00
     OFFICE
     1233 WESTBANK EXPRESSWAY
     HARVEY, LA 70058
2.149 JUNEAU DEPT OF ADMINISTRATION                                                        UNDETERMINED             $0.00
     ATTN: MANDY JUDY, REVENUE
     OFFICER
     550 W 7TH AVE, STE 1650
     ANCHORAGE, AK 99501-3510
2.150 KANSAS DEPT OF REVENUE                                                               UNDETERMINED             $0.00
     TAX OPERATIONS
     P.O. BOX 3506

                                             Schedule EF Part 1 - Page 12 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 50Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

     TOPEKA, KS 66625-3506
2.151 KANSAS DEPT OF REVENUE                                                               UNDETERMINED             $0.00
     P.O. BOX 3506
     TOPEKA, KS 66625-3506
2.152 KANSAS DEPT OF REVENUE                                                               UNDETERMINED             $0.00
     COPORATE TAX
     P.O. BOX 750260
     TOPEKA, KS 66699-0260
2.153 KANSAS DEPT OF REVENUE                                                               UNDETERMINED             $0.00
     LEGAL ADMINISTRATION
     P.O. BOX 12005
     TOPEKA, KS 66601-2005
2.154 KANSAS DEPT OF REVENUE                                                               UNDETERMINED             $0.00
     P.O. BOX 3506
     TOPEKA, KS 66625
2.155 KENTUCKY DEPT OF REVENUE                                                             UNDETERMINED             $0.00
     DIVISION OF SALES & USE TAX
     STATION 67 P.O. BOX 181
     FRANKFORT, KY 40602-0181
2.156 KENTUCKY DEPT OF REVENUE                                                             UNDETERMINED             $0.00
     LEGAL SUPPORT BRANCH -
     BANKRUPTCY
     P.O. BOX 5222
     FRANKFORT, KY 40602
2.157 KENTUCKY DEPT OF REVENUE                                                             UNDETERMINED             $0.00
     501 HIGH ST
     FRANKFORT, KY 40601
2.158 KS DEPT OF REVENUE, TAX                                                              UNDETERMINED             $0.00
     OPERATIONS
     P.O. BOX 3506
     TOPEKA, KS 66625-3506
2.159 LAFAYETTE PARISH SCHOOL SYSTEM                                                       UNDETERMINED             $0.00
     207 TOWN CENTER PKWY, STE 101
     LAFAYETTE, LA 70506
2.160 LAFOURCHE PARISH SCHOOL                                                              UNDETERMINED             $0.00
     DISTRICT
     805 E 7TH ST
     THIBODAUX, LA 70301
2.161 LAUREL COUNTY                                                                        UNDETERMINED             $0.00
     TAX ASSESSOR
     4598 OLD WHITLEY RD
     LONDON, KY 40744
2.162 LEGAL DIVISION - BANKRUPTCY UNIT                                                     UNDETERMINED             $0.00
     P.O. BOX 766
     CHARLESTON, WV 25323
2.163 LEON COUNTY                                                                          UNDETERMINED             $0.00
     TAX COLLECTOR
     P.O. BOX 1835

                                             Schedule EF Part 1 - Page 13 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 51Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:    List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

     TALLAHASSEE, FL 32302-1835
2.164 LEXINGTON COUNTY                                                                     UNDETERMINED             $0.00
     TAX ASSESSOR
     212 S LAKE DR, STE 201
     LEXINGTON, SC 29072
2.165 LIVINGSTON PARISH                                                                    UNDETERMINED             $0.00
     P.O. BOX 1030
     LIVINGSTON, LA 70754
2.166 LIVINGSTON PARISH                                                                    UNDETERMINED             $0.00
     13909 FLORIDA BLVD
     LIVINGSTON, LA 70754
2.167 LONGMONT SALES TAX DIVISION                                                          UNDETERMINED             $0.00
     LONGMONT SALES TAX DIVISION
     350 KIMBARK ST
     LONGMONT, CO 80501
2.168 LOS ANGELES COUNTY                                                                   UNDETERMINED             $0.00
     TREASURER & TAX COLLECTOR
     KENNETH HAHN HALL OF
     ADMINISTRATION
     500 W TEMPLE ST
     LOS ANGELES, CA 90012
2.169 LOS ANGELES COUNTY                                                                   UNDETERMINED             $0.00
     P.O. BOX 54888
     LOS ANGELES, CA 90054
2.170 LOUISIANA DEPT OF REVENUE                                                            UNDETERMINED             $0.00
     P.O. BOX 3138
     BATON ROUGE, LA 70821-3138
2.171 LOUISIANA DEPT OF REVENUE                                                            UNDETERMINED             $0.00
     COLLECTION DIVISION, BANKRUPTCY
     SECTION
     P.O. BOX 66658
     BATON ROUGE, LA 70896-6658
2.172 LOUISIANA DEPT OF REVENUE                                                            UNDETERMINED             $0.00
     P.O. BOX 201
     BATON ROUGE, LA 70821
2.173 LUBBOCK COUNTY                                                                       UNDETERMINED             $0.00
     TAX ASSESSOR
     916 MAIN ST, STE 102
     LUBBOCK, TX 79401
2.174 MADISON COUNTY                                                                       UNDETERMINED             $0.00
     100 N SIDE SQ
     1918 N MEMORIAL PKWY
     HUNTSVILLE, AL 35801
2.175 MADISON PARISH                                                                       UNDETERMINED             $0.00
     P.O. BOX 100
     VIDALIA, LA 71373
2.176 MADISON PARISH                                                                       UNDETERMINED             $0.00
     508 JOHN DALE DR

                                             Schedule EF Part 1 - Page 14 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 52Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:     List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

     VIDALIA, LA 71373
2.177 MAINE REVENUE SERVICES                                                               UNDETERMINED             $0.00
     P.O. BOX 1057
     AUGUSTA, ME 04332-1057
2.178 MAINE REVENUE SERVICES                                                               UNDETERMINED             $0.00
     CORPORATE INCOME TAX - WITHOUT
     PAYMENT
     P.O. BOX 1064
     AUGUSTA, ME 04332-1064
2.179 MAINE REVENUE SERVICES                                                               UNDETERMINED             $0.00
     CORPORATE TAX UNIT
     P.O. BOX 9107
     AUGUSTA, ME 4332
2.180 MAINE REVENUE SVC                                                                    UNDETERMINED             $0.00
     24 STATE HOUSE STA
     AUGUSTA, ME 04333
2.181 MARYLAND                                                                             UNDETERMINED             $0.00
     60 WEST ST, STE 102
     ANNAPOLIS, MD 21401
2.182 MASSACHUSETTS DEPT OF                                                                UNDETERMINED             $0.00
     REVENUE
     P.O. BOX 419257
     BOSTON, MA 02241-9257
2.183 MASSACHUSETTS DEPT OF                                                                UNDETERMINED             $0.00
     REVENUE
     P.O. BOX 7003
     BOSTON, MA 02204
2.184 MASSACHUSETTS DEPT OF                                                                UNDETERMINED             $0.00
     REVENUE
     19 STANIFORD ST
     BOSTON, MA 02114
2.185 MASSACHUSETTS DEPT OF                                                                UNDETERMINED             $0.00
     REVENUE
     P.O. BOX 7044
     BOSTON, MA 02204
2.186 MASSACHUSETTS DEPT OF                                                                UNDETERMINED             $0.00
     REVENUE
     P.O. BOX 9490
     BOSTON, MA 02205
2.187 MASSACHUSETTS DEPT OF                                                                UNDETERMINED             $0.00
     REVENUE
     COLLECTIONS
     BUREAU/BANKRUPTCY UNIT
     P. O. BOX 7090
     BOSTON, MA 02204-7090
2.188 MECKLENBURG COUNTY                                                                   UNDETERMINED             $0.00
     COLLECTOR
     P.O. BOX 71063

                                             Schedule EF Part 1 - Page 15 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 53Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:    List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

     CHARLOTTE, NC 28272
2.189 MICHIGAN DEPT OF TREASURY                                                            UNDETERMINED             $0.00
     LANSING, MI 48922
     LANSING, MI 48922
2.190 MICHIGAN DEPT OF TREASURY                                                            UNDETERMINED             $0.00
     COLLECTION SERVICES BUREAU,
     BANKRUPTCY UNIT - EASTERN DISTRI
     P.O. BOX 30456
     LANSING, MI 48909-8274
2.191 MICHIGAN DEPT OF TREASURY                                                            UNDETERMINED             $0.00
     COLLECTION SERVICES BUREAU,
     BANKRUPTCY UNIT - WESTERN
     DISTRI
     P.O. BOX 30455
     LANSING, MI 48909-8274
2.192 MICHIGAN DEPT OF TREASURY                                                            UNDETERMINED             $0.00
     CORPORATE INCOME TAX
     P.O. BOX 30774
     LANSING, MI 48909-8274
2.193 MICHIGAN DEPT OF TREASURY                                                            UNDETERMINED             $0.00
     TAX ADMIN
     LANSING, MI 48922
2.194 MICHIGAN DEPT OF TREASURY                                                            UNDETERMINED             $0.00
     TAX POLICY DIV
     ATTN: LITIGATION LIAISON
     430 W ALLEGAN ST, 2ND FL, AUSTIN
     BLDG
     LANSING, MI 48922
2.195 MINNESOTA DEPT OF REVENUE                                                            UNDETERMINED             $0.00
     600 N ROBERT ST
     ST PAUL, MN 55146
2.196 MINNESOTA DEPT OF REVENUE                                                            UNDETERMINED             $0.00
     COLLECTION DIVISION/BANKRUPTCY
     P.O. BOX 64564
     ST PAUL, MN 55164-0564
2.197 MINNESOTA DEPT OF REVENUE                                                            UNDETERMINED             $0.00
     CORPORATION FRANCHISE TAX
     600 N ROBERT ST, MAIL STATION 5140
     ST PAUL, MN 55146-5140
2.198 MISSISSIPPI                                                                          UNDETERMINED             $0.00
     SALES & USE TAX BUREAU
     P. O. BOX 1033
     JACKSON, MS 39215
2.199 MISSISSIPPI DEPT OF REVENUE                                                          UNDETERMINED             $0.00
     BANKRUPTCY
     500 CLINTON CTR DR
     CLINTON, MS 39056
2.200 MISSISSIPPI DEPT OF REVENUE                                                          UNDETERMINED             $0.00

                                             Schedule EF Part 1 - Page 16 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 54Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:    List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

     BANKRUPTCY
     P.O. BOX 22808
     JACKSON, MS 39225-2808
2.201 MISSISSIPPI DEPT OF REVENUE                                                          UNDETERMINED             $0.00
     CORPORATE AND FRANCHISE
     P.O. BOX 23191
     JACKSON, MS 39225-3050
2.202 MISSOURI                                                                             UNDETERMINED             $0.00
     TAXATION DIVISION
     P.O. BOX 840
     JEFFERSON CITY, MO 65105-0840
2.203 MISSOURI DEPT OF REVENUE                                                             UNDETERMINED             $0.00
     CORPORATION INCOME
     P.O. BOX 700
     JEFFERSON CITY, MO 65105-0700
2.204 MISSOURI DEPT OF REVENUE                                                             UNDETERMINED             $0.00
     HARRY S TRUMAN BLDG
     301 W HIGH S
     JEFFERSON CITY, MO 65101
2.205 MISSOURI DEPT OF REVENUE                                                             UNDETERMINED             $0.00
     P.O. BOX 311
     JEFFERSON CITY, MO 65105
2.206 MONTANA DEPT OF REVENUE                                                              UNDETERMINED             $0.00
     CORPORATE INCOME TAX
     P.O. BOX 8021
     HELENA, MT 59604-8021
2.207 MONTANA DEPT OF REVENUE                                                              UNDETERMINED             $0.00
     COUNTY COLLECTIONS AND STATE
     FEES
     P.O. BOX 6169
     HELENA, MT 59604-5805
2.208 MONTANA DEPT OF REVENUE                                                              UNDETERMINED             $0.00
     LEGAL SERVICES
     MITCHELL BLDG, RM 455
     P.O. BOX 5805
     HELENA, MT 59604-5805
2.209 MONTANA DEPT OF REVENUE                                                              UNDETERMINED             $0.00
     MITCHELL BLDG
     125 N ROBERTS
     P.O. BOX 5805
     HELENA, MT 59604-5805
2.210 MONTGOMERY COUNTY                                                                    UNDETERMINED             $0.00
     COMMISSION
     TAX & AUDIT DEPT
     P. O. BOX 4779
     MONTGOMERY, AL 36103-4779




                                             Schedule EF Part 1 - Page 17 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 55Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:     List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

2.211 MUSCOGEE COUNTY                                                                      UNDETERMINED             $0.00
     P.O. BOX 1441
     COLUMBUS, GA 31902-1340
2.212 NEBRASKA DEPT OF REVENUE                                                             UNDETERMINED             $0.00
     P.O. BOX 98923
     LINCOLN, NE 68509-8923
2.213 NEBRASKA DEPT OF REVENUE                                                             UNDETERMINED             $0.00
     301 CENTENNIAL MALL S
     LINCOLN, NE 68508
2.214 NEBRASKA DEPT OF REVENUE                                                             UNDETERMINED             $0.00
     P.O. BOX 94818
     LINCOLN, NE 68509
2.215 NEW HAMPSHIRE DEPT OF REVENUE                                                        UNDETERMINED             $0.00
     ADMIN
     LEGAL BUREAU
     P.O. BOX 457
     CONCORD, NH 03302-0457
2.216 NEW JERSEY DIVISION OF TAXATION                                                      UNDETERMINED             $0.00
     P.O. BOX 999
     TRENTON, NJ 08646-0999
2.217 NEW MEXICO TAXATION & REVENUE                                                        UNDETERMINED             $0.00
     DEPT
     1200 S ST FRANCIS DR
     SANTA FE, NM 87505
2.218 NEW MEXICO TAXATION AND                                                              UNDETERMINED             $0.00
     REVENUE
     BUSINESS TAXES
     P.O. BOX 25128
     SANTA FE, NM 87504-5128
2.219 NEW MEXICO TAXATION AND                                                              UNDETERMINED             $0.00
     REVENUE
     CORPORATE INCOME AND
     FRANCHISE TAX
     P.O. BOX 25128
     SANTA FE, NM 87504-5127
2.220 NEW MEXICO TAXATION AND                                                              UNDETERMINED             $0.00
     REVENUE
     LEGAL SERVICES
     P.O. BOX 630
     SANTA FE, NM 87505
2.221 NEW YORK STATE COMPTROLLER                                                           UNDETERMINED             $0.00
     OFC
     110 STATE ST
     ALBANY, NY 12207
2.222 NORTH CAROLINA DEPARTMENT OF                                                         UNDETERMINED             $0.00
     REVENUE
     ATTN: BANKRUPTCY UNIT
     P.O. BOX 1168


                                             Schedule EF Part 1 - Page 18 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 56Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:     List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

     RALEIGH, NC 27602
2.223 NORTH CAROLINA DEPT OF REVENUE                                                       UNDETERMINED             $0.00
     P.O. BOX 25000
     RALEIGH, NC 27640-0640
2.224 NORTH CAROLINA DEPT OF REVENUE                                                       UNDETERMINED             $0.00
     LEGAL PLEADINGS
     P.O. BOX 871
     RALEIGH, NC 27602
2.225 NORTH CAROLINA DEPT OF REVENUE                                                       UNDETERMINED             $0.00
     501 N WILMINGTON ST
     RALEIGH, NC 27604
2.226 NORTH CAROLINA DEPT OF REVENUE                                                       UNDETERMINED             $0.00
     P.O. BOX 25000
     RALEIGH, NC 27640
2.227 NORTH DAKOTA                                                                         UNDETERMINED             $0.00
     600 E BLVD AVE, DEPT 127
     BISMARCK, ND 58505-0599
2.228 NYS DEPT OF TAXATION AND                                                             UNDETERMINED             $0.00
     FINANCE
     BANKRUPTCY SECTION
     P.O. BOX 5300
     ALBANY, NY 12205
2.229 NYS DEPT OF TAXATION AND                                                             UNDETERMINED             $0.00
     FINANCE
     DIVISION OF THE TREASURY
     P.O. BOX 22119
     ALBANY, NY 12201-2119
2.230 NYS DEPT OF TAXATION AND                                                             UNDETERMINED             $0.00
     FINANCE
     ATTN: OFFICE OF COUNSEL
     W A HARRIMAN CAMPUS, BLDG 9
     ALBANY, NY 12227
2.231 NYS SALES TAX PROCESSING                                                             UNDETERMINED             $0.00
     P.O. BOX 15172
     ALBANY, NY 12212-5172
2.232 OFFICE OF STATE TAX                                                                  UNDETERMINED             $0.00
     COMMISSIONER
     600 E BLVD AVE, DEPT 127
     BISMARCK, ND 58505
2.233 OFFICE OF TAX AND REVENUE                                                            UNDETERMINED             $0.00
     ATTN: MARC ARONIN, CHIEF OF
     COLLECTION DIVISION
     COMPLIANCE ADMINISTRATION,
     COLLECTION DIVISION
     1101 4TH ST SW
     WASHINGTON, DC 20024
2.234 OFFICE OF TAX AND REVENUE                                                            UNDETERMINED             $0.00



                                             Schedule EF Part 1 - Page 19 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 57Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:    List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

     ATTN: STEPHANIE JETER,
     SUPERVISORY REVENUE OFFICER
     COMPLIANCE ADMINISTRATION,
     COLLECTION DIVISION
     P.O. BOX 37559
     WASHINGTON, DC 20013
2.235 OFFICE OF TAX AND REVENUE                                                            UNDETERMINED             $0.00
     1101 4TH S SW, STE 270
     WASHINGTON, DC 20024
2.236 OHIO DEPT OF TAXATION                                                                UNDETERMINED             $0.00
     ATTN: BUSINESS TAX DIVISION
     P.O. BOX 2678
     COLUMBUS, OH 43216-2678
2.237 OHIO DEPT OF TAXATION                                                                UNDETERMINED             $0.00
     COMMERCIAL ACTIVITY/SALES AND
     USE
     ATTN: COMPLIANCE TAX DIVISION
     P.O. BOX 2678
     COLUMBUS, OH 43216-2678
2.238 OHIO DEPT OF TAXATION                                                                UNDETERMINED             $0.00
     COMMERCIAL ACTIVITY/SALES AND
     USE
     ATTN: COMPLIANCE TAX DIVISION
     P.O. BOX 16678
     COLUMBUS, OH 43216-6678
2.239 OHIO DEPT OF TAXATION                                                                UNDETERMINED             $0.00
     CORPORATE FRANCHISE TAX
     P.O. BOX 27
     COLUMBUS, OH 43216-0027
2.240 OHIO DEPT OF TAXATION                                                                UNDETERMINED             $0.00
     4485 NORTHLAND RIDGE BLVD
     COLUMBUS, OH 43229
2.241 OKLAHOMA TAX COMMISSION                                                              UNDETERMINED             $0.00
     2501 N LINCOLN BLVD
     OKLAHOMA CITY, OK 73194
2.242 OKLAHOMA TAX COMMISSION                                                              UNDETERMINED             $0.00
     FRANCHISE TAX RETURN
     P.O. BOX 26850
     OKLAHOMA CITY, OK 73126-3160
2.243 OREGON DEPARTMENT OF REVENUE                                                         UNDETERMINED             $0.00
     P.O. BOX 14790
     SALEM, OR 97310
2.244 PA DEPT OF REVENUE                                                                   UNDETERMINED             $0.00
     P.O. BOX 280905
     HARRISBURG, PA 17128-0905




                                             Schedule EF Part 1 - Page 20 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 58Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

2.245 PARISH OF ST BERNARD                                                                 UNDETERMINED             $0.00
     SALES & USE TAX DEPT
     P.O. BOX 168
     CHALMETTE, LA 70044
2.246 PLAQUEMINES PARISH SALES TAX                                                         UNDETERMINED             $0.00
     DIVISION
     333 F EDWARD HEBERT BLVD
     BUILDING 102, STE 345
     BELLE CHASSE, LA 70037
2.247 POINTE COUPEE PARISH SALES &                                                         UNDETERMINED             $0.00
     USE TAX DEP
     P.O. BOX 290
     NEW ROADS, LA 70760
2.248 POINTE COUPEE PARISH SALES &                                                         UNDETERMINED             $0.00
     USE TAX DEP
     160 E MAIN ST
     NEW ROADS, LA 70760
2.249 PULASKI & LITTLE ROCK TAX                                                            UNDETERMINED             $0.00
     LEDBETTER BUILDING
     1816 W 7TH ST, RM 1330
     LITTLE ROCK, AR 72201
2.250 RAPIDES PARISH SALES & USE TAX                                                       UNDETERMINED             $0.00
     DEPT
     5606 COLISEUM BLVD
     ALEXANDRIA, LA 71303
2.251 REVENUE & FINANCE DEPT                                                               UNDETERMINED             $0.00
     1305 E WALNUT ST
     DES MOINES, IA 50319
2.252 REVENUE & TAXATION DEPT                                                              UNDETERMINED             $0.00
     617 N 3RD ST
     BATON ROUGE, LA 70802
2.253 REVENUE ADM DEPT                                                                     UNDETERMINED             $0.00
     57 REGIONAL DR
     CONCORD, NH 03301
2.254 REVENUE ADMINISTRATION                                                               UNDETERMINED             $0.00
     P.O. BOX 13528
     AUSTIN, TX 78711
2.255 REVENUE DEPT                                                                         UNDETERMINED             $0.00
     205 GOVERNMENT ST, S TOWER, RM
     243
     P.O. BOX 3065
     MOBILE, AL 36652-3065
2.256 REVENUE DEPT                                                                         UNDETERMINED             $0.00
     616 E ST
     ANCHORAGE, AK 99501
2.257 REVENUE DEPT                                                                         UNDETERMINED             $0.00
     540 S DUPONT HWY, STE 2
     DOVER, DE 19901

                                             Schedule EF Part 1 - Page 21 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 59Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:    List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

2.258 REVENUE OPERATIONS BUREAU                                                            UNDETERMINED             $0.00
     P.O. BOX 36
     BOISE, ID 83722
2.259 REVENUE SERVICES DEPT                                                                UNDETERMINED             $0.00
     25 SIGOURNEY ST
     HARTFORD, CT 6106
2.260 RHODE ISLAND DIVISION OF                                                             UNDETERMINED             $0.00
     TAXATION
     1 CAPITOL HILL
     PROVIDENCE, RI 02908
2.261 RHODE ISLAND DIVISION OF                                                             UNDETERMINED             $0.00
     TAXATION
     ONE CAPITAL HILL
     PROVIDENCE, RI 2908
2.262 RICHARDSON ISD                                                                       UNDETERMINED             $0.00
     TAX OFFICE
     420 S GREENVILLE AVE
     RICHARDSON, TX 75081
2.263 RICHLAND PARISH SALES & USE TAX                                                      UNDETERMINED             $0.00
     COMM
     P.O. BOX 688
     RAYVILLE, LA 71269
2.264 ROCKCASTLE COUNTY                                                                    UNDETERMINED             $0.00
     FISCAL COURT
     P.O. BOX 755
     MT VERNON, KY 40456
2.265 SACRAMENTO COUNTY                                                                    UNDETERMINED             $0.00
     TAX OFFICE
     P.O. BOX 508
     SACRAMENTO, CA 95812-0508
2.266 SALES & USE TAX BUREAU                                                               UNDETERMINED             $0.00
     P. O. BOX 1033
     JACKSON, MS 39215
2.267 SALES TAX DIVISION                                                                   UNDETERMINED             $0.00
     SALES TAX DIVISION
     P.O. BOX 1427
     PUEBLO, CO 81002
2.268 SHELBY COUNTY                                                                        UNDETERMINED             $0.00
     TAX COLLECTOR
     102 DEPOT ST
     COLUMBIANA, AL 35051
2.269 SHELBY COUNTY BUSINESS                                                               UNDETERMINED             $0.00
     REVENUE OFFICE
     200 W COLLEGE ST, RM 115
     COLUMBIANA, AL 35051
2.270 SOUTH CAROLINA DEPT OF REVENUE                                                       UNDETERMINED             $0.00
     ATTN: DIRECTOR
     P.O. BOX 125

                                             Schedule EF Part 1 - Page 22 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 60Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

     COLUMBIA, SC 29214-0505
2.271 SOUTH DAKOTA DEPT OF REVENUE                                                         UNDETERMINED             $0.00
     445 E CAPITOL AVE
     PIERRE, SD 57501
2.272 ST CHARLES PARISH SALES TAX                                                          UNDETERMINED             $0.00
     13855 RIVER RD
     LULING, LA 70070
2.273 ST JAMES PARISH                                                                      UNDETERMINED             $0.00
     P.O. BOX 106
     5800 HWY 44
     CONVENT, LA 70723
2.274 ST JOHN THE BAPTIST PARISH                                                           UNDETERMINED             $0.00
     GOVERNMENT
     1811 W AIRLINE HWY
     LAPLACE, LA 70068
2.275 ST LOUIS COUNTY                                                                      UNDETERMINED             $0.00
     TAX COLLECTOR
     16860 MAIN ST
     WILDWOOD, MO 63040
2.276 ST MARTIN PARISH SCHOOL BOARD                                                        UNDETERMINED             $0.00
     OFFICE
     600 CORPORATE BLVD
     P.O. BOX 1000
     BREAUX BRIDGE, LA 70517
2.277 ST MARY PARISH SALES & USE TAX                                                       UNDETERMINED             $0.00
     DEPT
     P.O. DRAWER 1279
     MORGAN CITY, LA 70381-1279
2.278 ST MARY PARISH SALES & USE TAX                                                       UNDETERMINED             $0.00
     DEPT
     301 3RD ST
     MORGAN CITY, LA 70380
2.279 ST TAMMANY PARISH                                                                    UNDETERMINED             $0.00
     SLIDELL ADMINISTRATIVE BUILDING
     300 BROWNSWITCH RD
     SLIDELL, LA 70458
2.280 ST. LANDRY PARISH SCHOOL BOARD                                                       UNDETERMINED             $0.00
     P.O. BOX 1210
     OPELOUSAS, LA 70571-1210
2.281 ST. LANDRY PARISH SCHOOL BOARD                                                       UNDETERMINED             $0.00
     1013 CRESWELL LN
     OPELOUSAS, LA 70570
2.282 STATE COMPTROLLER OF INDIANA                                                         UNDETERMINED             $0.00
     200 W WASHINGTON ST, STE 240
     INDIANAPOLIS, IN 46204
2.283 STATE DEPT OF ASSESSMENTS &                                                          UNDETERMINED             $0.00
     TAXATION


                                             Schedule EF Part 1 - Page 23 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 61Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

     ATTN: STEPHEN J CLAMPETT,
     ASSOCIATE DIRECTOR
     301 W PRESTON ST
     ANNAPOLIS, MD 21201-2395
2.284 STATE OF ALASKA REVENUE DEPT                                                         UNDETERMINED             $0.00
     P.O. BOX 110400
     JUNEAU, AK 99811
2.285 STATE OF ARKANSAS                                                                    UNDETERMINED             $0.00
     DEPT OF FINANCE AND ADMIN
     P.O. BOX 8123
     LITTLE ROCK, AR 72203-8123
2.286 STATE OF CALIFORNIA                                                                  UNDETERMINED             $0.00
     FRANCHISE TAX BOARD
     BANKRUPTCY SECTION MS A345,
     BUSINESS BANKRUPTCY
     P.O. BOX 2952
     SACRAMENTO, CA 95812-2952
2.287 STATE OF CALIFORNIA                                                                  UNDETERMINED             $0.00
     FRANCHISE TAX BOARD
     P.O. BOX 942857
     SACRAMENTO, CA 94257-0501
2.288 STATE OF CALIFORNIA                                                                  UNDETERMINED             $0.00
     ATTN: JOZEL BRUNETT, CHIEF
     COUNSEL
     FRANCHISE TAX BOARD, LEGAL
     DIVISION
     P.O. BOX 1720
     RANCHO CORDOVA, CA 95741-1720
2.289 STATE OF NEVADA                                                                      UNDETERMINED             $0.00
     SALES/USE TAX
     P.O. BOX 52609
     PHOENIX, AZ 85072-2609
2.290 STATE OF NEVADA DEPT OF                                                              UNDETERMINED             $0.00
     TAXATION
     GRANT SAWYER OFFICE BLDG
     555 E WASHINGTON AVE, STE 1300
     LAS VEGAS, NV 89101
2.291 STATE OF NEVADA DEPT OF                                                              UNDETERMINED             $0.00
     TAXATION
     1550 E COLLEGE PKWY, STE 115
     CARSON CITY, NV 89706
2.292 STATE OF NEVADA, SALES/USE TAX                                                       UNDETERMINED             $0.00
     P.O. BOX 52609
     PHOENIX, AZ 85072-2609
2.293 STATE OF NEW JERSEY                                                                  UNDETERMINED             $0.00
     DIVISION OF TAXATION, BANKRUPTCY
     UNIT
     3 JOHN FITCH WAY, 5TH FL
     P.O. BOX 245

                                             Schedule EF Part 1 - Page 24 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 62Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:       List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

     TRENTON, NJ 08695-0245
2.294 STATE OF NEW JERSEY                                                                  UNDETERMINED             $0.00
     DIVISION OF TAXATION, REVENUE
     POCESSING CENTER
     P.O. BOX 666
     TRENTON, NJ 08646-0666
2.295 STATE OF TEXAS                                                                       UNDETERMINED             $0.00
     111 E 17TH S
     AUSTIN, TX 78774
2.296 TANGIPAHOA PARISH SALES TAX                                                          UNDETERMINED             $0.00
     P.O. BOX 159
     AMITE, LA 70422
2.297 TANGIPAHOA PARISH SALES TAX                                                          UNDETERMINED             $0.00
     106 N MYRTLE ST
     AMITE, LA 70422
2.298 TARRANT COUNTY                                                                       UNDETERMINED             $0.00
     TOWN HALL
     1400 MAIN ST, STE 110
     SOUTHLAKE, TX 76092
2.299 TAX & STATE REVENUE                                                                  UNDETERMINED             $0.00
     955 CENTER ST NE
     SALEM, OR 97310
2.300 TAX COMMISSION                                                                       UNDETERMINED             $0.00
     800 PARK BLVD
     BOISE, ID 83712
2.301 TAX COMPLIANCE DEPT                                                                  UNDETERMINED             $0.00
     200 FAIR OAKS LN
     FRANKFORT, KY 40601
2.302 TAX DEPT                                                                             UNDETERMINED             $0.00
     3301 C ST, STE 712
     SACRAMENTO, CA 95816
2.303 TAXATION & REVENUE DEPT                                                              UNDETERMINED             $0.00
     1200 S SAINT FRANCIS DR
     SANTA FE, NM 87505
2.304 TAXATION DEPT                                                                        UNDETERMINED             $0.00
     3610 W BROAD ST, STE 101
     RICHMOND, VA 23230
2.305 TAXATION DIVISION                                                                    UNDETERMINED             $0.00
     P.O. BOX 840
     JEFFERSON CITY, MO 65105-0840
2.306 TAXATION DIVISION                                                                    UNDETERMINED             $0.00
     50 BARRACK ST
     TRENTON, NJ 08608
2.307 TAXATION DIVISION                                                                    UNDETERMINED             $0.00
     30 E BROAD ST, STE 22
     COLUMBUS, OH 43215
2.308 TAXATION DIVISION                                                                    UNDETERMINED             $0.00

                                             Schedule EF Part 1 - Page 25 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 63Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:    List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

     800 FREEWAY DR N
     COLUMBUS, OH 43229
2.309 TENNESSEE DEPT OF REVENUE                                                            UNDETERMINED             $0.00
     ANDREW JACKSON BLDG
     500 DEADERICK ST
     NASHVILLE, TN 37242
2.310 TERREBONNE PARISH                                                                    UNDETERMINED             $0.00
     GOVERNMENT TOWER
     8026 MAIN ST, STE 601
     HOUMA, LA 70360
2.311 TERREBONNE PARISH                                                                    UNDETERMINED             $0.00
     P.O. BOX 670
     HOUMA, LA 70361
2.312 TEXAS COMPTROLLER OF PUBLIC                                                          UNDETERMINED             $0.00
     ACCOUNTS
     LYNDON B JOHNSON STATE OFFICE
     BLDG
     111 E 17TH ST
     AUSTIN, TX 78774
2.313 TEXAS COMPTROLLER OF PUBLIC                                                          UNDETERMINED             $0.00
     ACCOUNTS
     P.O. BOX 13528
     CAPITOL STATION
     AUSTIN, TX 78711-3528
2.314 THE REVENUE CENTER                                                                   UNDETERMINED             $0.00
     1001 LEE ST E
     CHARLESTON, WV 25301
2.315 TOWN OF MEDFORD                                                                      UNDETERMINED             $0.00
     TREASURER
     85 GEORGE P HASSETT DR
     MEDFORD, MA 02155
2.316 TOWN OF WESTWOOD                                                                     UNDETERMINED             $0.00
     UNIVERSITY AVE
     580 HIGH ST
     WESTWOOD, MA 02090
2.317 TRAVIS COUNTY                                                                        UNDETERMINED             $0.00
     TAX OFFICE
     2433 RIDGEPOINT DR
     AUSTIN, TX 78754-5231
2.318 TUSCALOOSA COUNTY                                                                    UNDETERMINED             $0.00
     P.O. BOX 20738
     TUSCALOOSA, AL 35402-0738
2.319 UNION PARISH SALES & USE TAX                                                         UNDETERMINED             $0.00
     COMMISSION
     P.O. BOX 903
     RUSTON, LA 71273-0903
2.320 US DEPARTMENT OF TREASURY                                                            UNDETERMINED             $0.00
     1500 PENNSYLVANIA AVENUE, NW

                                             Schedule EF Part 1 - Page 26 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 64Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address         Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                         Incurred And
                                           Account Number

     WASHINGTON, DC 20220
2.321 UTAH STATE TAX COMMISSION                                                            UNDETERMINED             $0.00
     210 N 1950 W
     SALT LAKE CITY, UT 84134
2.322 VERMILION PARISH SCHOOL BOARD                                                        UNDETERMINED             $0.00
     SALES TAX DIVISION
     P.O. BOX 1508
     ABBEVILLE, LA 70511
2.323 VERMONT DEPT OF TAX                                                                  UNDETERMINED             $0.00
     133 STATE ST
     MONTPELIER, VT 05602
2.324 VERMONT DEPT OF TAXES                                                                UNDETERMINED             $0.00
     P.O. BOX 1881
     MONTPELIER, VT 05601-1881
2.325 VIRGINIA DEPT OF TAXATION                                                            UNDETERMINED             $0.00
     P.O. BOX 1115
     RICHMOND, VA 23218-1115
2.326 WASHINGTON DEPT OF REVENUE                                                           UNDETERMINED             $0.00
     P.O. BOX 47464
     OLYMPIA, WA 98504
2.327 WASHINGTON PARISH SHERIFF’S                                                          UNDETERMINED             $0.00
     OFFICE
     SALES & USE TAX DEPT
     1002 MAIN ST
     FRANKLINTON, LA 70438
2.328 WASHINGTON STATE                                                                     UNDETERMINED             $0.00
     DEPT OF REVENUE
     P.O. BOX 47464
     OLYMPIA, WA 98504-7464
2.329 WASHINGTON STATE DEPT OF                                                             UNDETERMINED             $0.00
     REVENUE
     ATTN: BANKRUPTCY UNIT
     2101 4TH AVE, STE 1400
     SEATTLE, WA 98121
2.330 WEST BATON ROUGE REVENUE &                                                           UNDETERMINED             $0.00
     TAXATION
     REVENUE & TAXATION
     P.O. BOX 86
     PORT ALLEN, LA 70767
2.331 WEST BATON ROUGE REVENUE &                                                           UNDETERMINED             $0.00
     TAXATION
     REVENUE & TAXATION
     883 7TH ST
     PORT ALLEN, LA 70767
2.332 WEST VIRIGINA DEPT OF REVENUE                                                        UNDETERMINED             $0.00
     TAX INFORMATION & ASSISTANCE
     1001 LEE ST E
     CHARLESTON, WV 25301

                                             Schedule EF Part 1 - Page 27 of 28
               Case
Novitex Holdings, Inc. 25-90023      Document 549 Filed in TXSB on 05/06/25 Page 65Case
                                                                                    of 72
                                                                                        Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:     List All Creditors with PRIORITY Unsecured Claims


  Creditor's Name, Mailing Address           Date Claim Was         C-U-D           Offset   Total Claim    Priority Amount
 Including Zip Code                           Incurred And
                                             Account Number

2.333 WISCONSIN DEPT OF REVENUE                                                              UNDETERMINED             $0.00
     P.O. BOX 8965
     MADISON, WI 53708
2.334 WISCONSIN STATE                                                                        UNDETERMINED             $0.00
     P.O. BOX 8902
     P.O. BOX 8949
     MADISON, WI 53708
2.335 WYOMING DEPT OF REVENUE                                                                UNDETERMINED             $0.00
     HERSCHLER BLDG E, 2ND FL W
     122 W 25TH ST
     CHEYENNE, WY 82002-0110
2.336 WYOMING DEPT OF REVENUE                                                                UNDETERMINED             $0.00
     122 W 125TH S, STE E301
     CHEYENNE, WY 82002

                                                                            Taxes Total: UNDETERMINED       UNDETERMINED



2. Total: All Creditors with PRIORITY Unsecured Claims                                       UNDETERMINED          $0.00




                                               Schedule EF Part 1 - Page 28 of 28
               Case
Novitex Holdings, Inc. 25-90023        Document 549 Filed in TXSB on 05/06/25 Page 66Case
                                                                                      of 72
                                                                                          Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
    Part 2:      List All Creditors with NONPRIORITY Unsecured Claims




3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with
   nonpriority unsecured claims, fill out and attach the Additional Page of Part 2.

 Creditor's Name, Mailing Address            Date Claim Was          C-U-D            Basis for Claim     Offset        Amount of
 Including Zip Code                          Incurred And                                                                Claim
                                             Account
                                             Number



Intercompany Payable

3.1 EXELA INTERMEDIATE LLC                                                       INTERCOMPANY                           $7,591,451.00
    2701 E. GRAUWYLER ROAD
    IRVING, TX 75061
3.2 NEON ACQUISITION, LLC                                                        INTERCOMPANY                           $2,565,072.00
    2701 E. GRAUWYLER ROAD
    IRVING, TX 75061

                                                                                          Intercompany Payable Total: $10,156,523.00


July 2026 Notes

3.3 U.S. BANK TRUST COMPANY,                07/11/2023                                                                 $25,666,358.00
    NATIONAL ASSOCIATION, AS
    TRUSTEE
    WEST SIDE FLATS
    60 LIVINGSTON AVE.
    ATTN: ADMINISTRATOR--EXELA
    INTERMEDIATE LLC
    ST. PAUL, MN 55107

                                                                                                July 2026 Notes Total: $25,666,358.00



3. Total: All Creditors with NONPRIORITY Unsecured Claims                                                          $35,822,881.00




                                                   Schedule EF Part 2 - Page 1 of 1
               Case
Novitex Holdings, Inc. 25-90023        Document 549 Filed in TXSB on 05/06/25 Page 67Case
                                                                                      of 72
                                                                                          Number: 25-90075


Schedule E/F: Creditors Who Have Unsecured Claims
    Part 3:     List Others to Be Notified About Unsecured Claims




4. List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
   listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

 Creditor's Name, Mailing Address Including             On which line in Part 1 or Part 2 is the             Last 4 digits of
 Zip Code                                               related creditor (if any) listed?                    account number for
                                                                                                             this entity



Senior Secured July 2026 Notes

4.1 KING & SPALDING LLP
    1185 AVENUE OF THE AMERICAS
    ATTN: JENNIFER DALY
    NEW YORK, NY 10036
4.2 SEI - BLUE TORCH CAPITAL LOANS OPS
    1 FREEDOM VALLEY DRIVE
    OAKS, PA 19456




                                                   Schedule EF Part 3 - Page 1 of 1
                Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 68 of 72


Schedule E/F: Creditors Who Have Unsecured Claims
   Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims




5. Add the amounts of priority and nonpriority unsecured claims.




5a. Total claims from Part 1
                                                                                                 $0.00
                                                                                         + UNDETERMINED




5b. Total claims from Part 2
                                                                                        $35,822,881.00
                                                                                         + UNDETERMINED




5c. Total of Parts 1 and 2                                                              $35,822,881.00
    Lines 5a + 5b = 5c.                                                                  + UNDETERMINED




                                                     Schedule EF Part 4 - Page 1 of 1
Novitex Holdings, Inc.                            Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 69 of 72                                                             Case Number: 25-90075


 Fill in this information to identify the case and this filing:

 Debtor Name:                                        Novitex Holdings, Inc.

 United States Bankruptcy Court:                   Southern District of Texas

 Case Number (if known):                                    25-90075




Form 206G

Schedule G: Executory Contracts and Unexpired Leases
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

   Part 1:


1. Does the debtor have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
             Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).

2. List all contracts and unexpired leases



 Nature of the Debtor's Interest                                  Expiration Date            Contract ID           Co-Debtor                      Name                           Address




Total number of contracts                                                                                                                                                                         0




                                                                                             Schedule G - Page 1 of 1
               Case
Novitex Holdings, Inc. 25-90023          Document 549 Filed in TXSB on 05/06/25 Page 70Case
                                                                                        of 72
                                                                                            Number: 25-90075


 Fill in this information to identify the case and this filing:

 Debtor Name:                                        Novitex Holdings, Inc.

 United States Bankruptcy Court:                  Southern District of Texas

 Case Number (if known):                                   25-90075




Form 206H

Schedule H: Codebtors
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

   Part 1:


1. Does the debtor have any codebtors?
             No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this
             form.
             Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
   schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
   owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
   separately in Column 2.



 Codebtor Name and Mailing Address                                Creditor Name                                                  D - E/F - G




Total Number of Co-Debtor / Creditor Rows                                                                                                 0




                                                           Schedule H - Page 1 of 1
               Case
Novitex Holdings, Inc. 25-90023             Document 549 Filed in TXSB on 05/06/25 Page 71Case
                                                                                           of 72
                                                                                               Number: 25-90075


 Fill in this information to identify the case and this filing:

 Debtor Name:                                           Novitex Holdings, Inc.

 United States Bankruptcy Court:                     Southern District of Texas

 Case Number (if known):                                       25-90075




Form 206Sum

Summary of Assets and Liabilities for Non-Individuals
   Part 1:      Summary of Assets


1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)


1a. Real Property:
    Copy line 88 from Schedule A/B
                                                                                                             $0.00



1b. Total personal property:
                                                                                                             $0.00
    Copy line 91A from Schedule A/B



1c. Total of all property:
    Copy line 92 from Schedule A/B
                                                                                                             $0.00


   Part 2:      Summary of Liabilities




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)                $1,357,606,629.00
   Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D       + UNDETERMINED


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


3a. Total claim amounts of priority unsecured claims:
    Copy the total claims from Part 1 from line 6a of Schedule E/F
                                                                                                             $0.00



3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                    $35,822,881.00
    Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F




4. Total liabilities                                                                             $1,393,429,510.00
   Lines 2 + 3a + 3b                                                                                 + UNDETERMINED




                                                               Summary - Page 1 of 1
                Case 25-90023 Document 549 Filed in TXSB on 05/06/25 Page 72 of 72

 Fill in this information to identify the case and this filing:

 Debtor Name:                               Novitex Holdings, Inc.

 United States Bankruptcy Court:              SOUTHERN DISTRICT OF TEXAS

 Case Number (if known):                                25-90075




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership,
must sign and submit this form for the schedules of assets and liabilities, any other document that requires a
declaration that is not included in the document, and any amendments of those documents. This form must
state the individual's position or relationship to the debtor, the identity of the document, and the date.
Bankruptcy Rules 1008 and 9011.

Warning -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571


Declaration and Signature


     I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
     partnership; or another individual serving as a representative of the debtor in this case.

     I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
     correct:



         Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         Schedule H: Codebtors (Official Form (206H)
         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         Amended Schedule
         Other document that requires a declaration




     I declare under penalty of perjury that the foregoing is true and correct.


     Executed on: 05/06/2025




     Signature:      /s/ Matthew T. Brown                                  Matthew T. Brown, Interim Chief Financial Officer
                                                                           Name and Title




                                                   Declaration and Signature - Page 1 of 1
